     Case 2:20-cv-11670-PSG-AS Document 2 Filed 12/28/20 Page 1 of 69 Page ID #:12


 1   Kathy A. Le (SBN 279690
     kathy.le@jacksonlewis.com
 2   JACKSON LEWIS P.C.
     200 Spectrum Center Drive, Suite 500
 3   Irvine, CA 92618
     Tel: (949) 885-1360
 4   Fax: (949) 885-1380
 5   Attorneys for Defendant
     MAKE-UP ART COSMETICS INC.
 6

 7

 8                           UNITED STATES DISTRICT COURT
 9               CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
10

11   MEESA BRADLEY, an Individual,           CASE NO.: 2:20-cv-11670
12
                       Plaintiff,
13
                                             DECLARATION OF KATHY A. LE IN
           vs.                               SUPPORT OF DEFENDANT MAKE-UP
14                                           ART COSMETICS INC.’S NOTICE OF
     MAKE-UP ART COSMETICS, INC., a
15                                           REMOVAL PURSUANT TO 28 U.S.C.
     Delaware Corporation; and DOES 1
                                             §§ 1332, 1441 and 1446
16   through 20, inclusive,

17                     Defendants            [Filed concurrently with the Notice of
                                             Removal; Civil Coversheet; Declaration of
18                                           Scott Mayhugh; Corporate Disclosure
19                                           Statement; Notice of Interested Parties; and
                                             Notice of Related Cases]
20

21                                           Action Filed:      July 24, 2020
                                             Date Removed:      December 28, 2020
22

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     CASE NO.                                 1      DECLARATION OF KATHY A. LE
                                                         IN SUPPORT OF REMOVAL
     Case 2:20-cv-11670-PSG-AS Document 2 Filed 12/28/20 Page 2 of 69 Page ID #:13


 1         I, Kathy A. Le, declare and state as follows:
 2         1.     I am an attorney duly authorized to practice law before this Court and within
 3   the State of California. I am an attorney with the law firm Jackson Lewis P.C., counsel
 4   of record for Defendant Make-Up Art Cosmetics Inc. (“M.A.C.” or “Defendant”) in the
 5   above-entitled action. I make this declaration in support of M.A.C.’s Notice of Removal.
 6         2.     Attached hereto as Exhibit A is a true and correct copy of Plaintiff’s
 7   Summons, Complaint, and Civil Case Cover Sheet that was served on Defendant and
 8   filed in the Los Angeles County Superior Court.
 9         3.     Plaintiff served Defendant pursuant to California Code of Civil Procedure
10   (“CCP”) § 416.10, by personally delivering the Summons and Complaint on November
11   25, 2020, to Defendant’s agent for service of process.
12         4.     Attached as Exhibit B is the Notice of Case Assignment.
13         5.     Attached as Exhibit C is the Court’s May 3, 2019, First Amended General
14   Order.
15         6.     Attached as Exhibit D is the Court’s August 3, 2020, Notice of Case
16   Management Conference.
17         7.     Attached as Exhibit E is the Court’s October 21, 2020, Notice Re:
18   Continuance of Hearing and Order.
19         8.     Attached as Exhibit F is the Proof of Service of Summons re: Defendant
20   filed November 30, 2020.
21         9.     Attached as Exhibit G is Plaintiff’s Case Management Statement filed
22   December 8, 2020.
23         10.    To the best of my knowledge and based on information and belief, Exhibits
24   A through G constitute all pleadings or Court Orders that have been filed and/or served in
25   the state court action to date.
26         11.    Prior to the filing of Defendant’s notice of removal, I caused a search to be
27   conducted for Plaintiff’s attorneys, Joseph S. Farzam and Stephen J. Duron. Mr. Farzam
28   and Mr. Duron were admitted to practice in California in 2000 and 2009, respectively.

     CASE NO.                                     2        DECLARATION OF KATHY A. LE
                                                               IN SUPPORT OF REMOVAL
     Case 2:20-cv-11670-PSG-AS Document 2 Filed 12/28/20 Page 3 of 69 Page ID #:14


 1   See,    California     State   Bar     website       for    Mr.    Farzam’s   information   at
 2   http://members.calbar.ca.gov/fal/Licensee/Detail/210817.            See, California State Bar
 3   website              for         Mr.                 Duron’s            information         at
 4   http://members.calbar.ca.gov/fal/Licensee/Detail/263485. I have represented employers
 5   in employment litigation for nine years in California, and am familiar with fees requested
 6   by plaintiffs’ counsel in similar actions filed in California state and federal courts
 7   alleging discrimination, harassment, retaliation, wrongful termination and related claims.
 8   Based on Mr. Farzam and Mr. Duron’s experience and Plaintiff’s allegations, it would
 9   not be unreasonable to expect that Plaintiff’s attorneys’ fees will exceed the sum of
10   $300,000 through trial.
11          I declare under penalty of perjury under the laws of the United States of America
12   and the State of California that the foregoing is true and correct.
13          Executed on December 28, 2020, at Irvine, California.
14
                                                                /s/ Kathy A. Le
15                                                                   Kathy A. Le
16

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     CASE NO.                                         3         DECLARATION OF KATHY A. LE
                                                                    IN SUPPORT OF REMOVAL
Case 2:20-cv-11670-PSG-AS Document 2 Filed 12/28/20 Page 4 of 69 Page ID #:15




                  EXHIBIT A
    Electronically FILED by Superior Court of California, County of Los Angeles on 07/RMT6:~'RY9Wll Sherri
                     Case 2:20-cv-11670-PSG-AS Document 2 Filed 12/28/20 Page 5 of 69 Page ID #:16         R. Carter, Executive Officer/Clerk of Court, by M. Barel,Deputy Clerk



'                                                        SUMMONS                                                                               FORCOlJRTUSE ONIY
                                                                                                                                       f~LO P/IRA USO DF LA CORT~
%                                              (C/TACION JUDIC/AL)
             NOTICE TO DEFENDANT:
    ~        (A VlSO AL DEMANDADO):
              MAKE-UP ART COSMET'TCS, INC., a Delaware Corporation; and
              DOES 1 through 20, inclusive
            YOU ARE BEINO SUED BY PLAINTIFF:
            (LO ESTi4 DEMANDANDO EL DEMANDANTE):
             MEESA BRADLEY, an Individual

              NOTICEI You have been sued. The court may decide against you without your being heard uniess you respond within 30 days. Read the
              below.                                                                                                                            information
                 You have 30 CALENDAR DAYS after this summons and iegal papers are seived on you to fiie a written response at this court
              served on the plaintiff. A letter or phone call wili not protect you. Your written response must be in proper iegal form if you want    and have a copy
              case. There may be a court fotm that you can use for your n:sponse. You can find these court forms and more                           the court to hear your
                                                                                                                                  infonnation at the Califomia Courts
              Oniine Self-Help Center (tuww.courtinfa.ca.gcv/seHhe/p), your county iaw library, or the courthouse nearest you. If you
              the court clerk for a fee waiver form. If you do not fiie your response on time, you may lose the case by default, and your  cannot pay the fiiing fee, ask
              may be taken without further waming from the court.                                                                            wages, mortey, and properly
                 There are other iegai requirements. You may want to call an a8omey right away. Ifyou do not know an attomey, you may want
              refetral service. If you cannot afrorci an attomey, you may be eiigible for free legal serviaes from a nonprofit legal services program.toYoucall an attomey ;
              these nonprofit groups at the Caiifomia Legal Services Web site (www.lawhefpca/ifomia.org), the Caiifomia Courts Online                          can locate
                                                                                                                                              Seif-Help Center
             (www.courfinfo.ca.gov/se/6relp), or by contacting your local court or county bar association. NOTE: The court has a statutory lien
              costs on any settlernent or arbitration award of $10,000 or more in a civll case. The court's lien must be paid before the court will forwaived fees and '
             tAV/SOl Lo han demandedo. Si no responde dentro de 30 dlas, la corte puede decidir en su contra sin escuchar su versl6n. Leadismiss      la
                                                                                                                                                                the case.
             contlnuaci6n.
                                                                                                                                                         informacl6n    a
                Tlene 30 DG9 S DE CALENDARIO despu8s de que le entreguen esta citecl6n y papeles legga/es pare pn3sentar una respuesta por
             corte y hacer que se enhegue una copfa al demarrdante. tJna carte o una llamada telef6nlca no la pmfegen. Su respuesta por.                  escrito en esta
             en formato /egal correcto si desea que procesen su caso en la corte. Es posible que haya un fon»ulatio que usted pueda usar escn7o    paia
                                                                                                                                                            tiane que estar I
             Puede encontrar estos fonnulartos de la corte y mas int'ormacl6n en el Centro de Ayude de /as Cortes de Cali6omia (www.sucorte.ca.gov),     su  tespuesta.
             biblioteca de leyes de su condado o en /a corte que le quede mes cerca. Si no puede pagar la cuota de presentaci6n, pida al                          en la
                                                                                                                                                 secretario de la corte
             que, le dd un fomtulario de exencf6n de pago de cuotas. Si no presenta su r@spuesta a (iempo, puede perder el caso por incumplimiento
             podn3 quitar su sueldo, dinero y bienes sin mes advertencia.                                                                                      y le corte /e
               Hay otros requisitos legales. Es recomendab/e que llame a un abogado inmedlatamente. Si no conoce a un abogado,
             remisibn a abogados. Si no puede pagar a un abogedo, es posible que cumpla con las nvquisitos pare obtener seivic/os puede Ilamar a un servicio de
                                                                                                                                            lega/es gretuitos de un
             programa_ de sertriclos /ega/es sin frnes de lucro. Puede encontrar estos grupos sin flnes de lucro en el sltio t+veb de Califomia
                w                                                                                                                                 Legal Services,
             (ww.lawhelpcalifomia.org),      en e/ Centro de Ayuda de las Co►fes de Calliomia, (www.sucorte.ca.gov) o ponlgndose en contecto con la corte el
             colegio de abogados locales. A VISO: Por /ey, la corte tiene den3cho a n3clamar /as cuotas y los costos exentos porinrponer                            o
                                                                                                                                                    gravamen sobre
             cualquierrecuperacf6n de $10,000 6 m8s de valorrectblde mediante un acuerdo o una concesi6n de a►br7raje en un caso deun            derecho civiL Trene que
             pagar el gravamen de /a corte    antes de que la corte pueda desechar e/ caso.
                                                                                                                                                _
           The name and address of the court is:                                                                          cnsE NuMeER:
           (EI nombre y direcci6n de la corte es):          LOS ANGELES SUPERIOR COURT                                    rN°""B/0 cU Cas°/.                                            '
            Stanley Mosk Courthouse                                                                                          2 O  _ S T             ~    V 2 7 __..
                                                                                                                                                               91              ~     _ -:
            111 North Hill Street, Los Angeles, CA 90012
           The name, address, and telephone number of piaintiffs attomey, or piaintiffwithout an attorney, is:
           (EI nombre, la drecci6n y el numero de telftno del abogado de/ demandante, o del
                                                                                            demandante que no tiene abogedo, es):
            Stephen J. Duron, Esq., 11766 Wilshire Blvd., Ste. 280, Los Angeles CA 90025 (310) 226-6890
            DATE:
                                                                                                Eherri R.
                                                                                               Carter Executive Of~itier                                         f Clerl~ af Court
                      07124f2O2O                                                Cierk, by                                                                                    , Deputy
           (Fecha)
                    —                    _                                      (Secretario)                  M ._ B SrS I                                                    ra~r/„nt.,t
           (rur proor or serv/ce o► tn/s summons, use Proof of Service of Summons (form POS010).)
           (Para prueba de entrega de esta citati6n use el fonnulario Proof of Service of
                                                                                          Summons, (POS-010)).
                                             NOTICE TO THE PERSON SERVED: You are served
                                            1. E=1 as an individual defendant.
                                            2. =     as the person sued under the fictitious name of (specify):
                                                                                          . Ma.ke -LAp           P-r~- Cv51rn e4 -~cs . --Djr- -i e~
                                                  3. IM       on behaif of (specify): 7D eAQ,wo,<
                                                         under.       CCP 416.10 (corporation)                0                     CCP 416.60 (minor)
                                                                  0   CCP 416.20 (defunct corporation)        0                     CCP 416.70 (conservatee)
                                                                  []  CCP 416.40 (association or partnership) 0                     CCP 416.90 (authorized person)
                                                               ~      other (specify):
                                                  4. 0        by personal delivery on (date):
            Forrn Adopted fa ManCatory llse                                                                                                                                          3of1
                                                    _.
              Judieiel CounGl of Cetlfoml®                                            SUMMONS                                                           c.oaa oiciHl P~dure ~ 4ii:2a; aes :
              sukA-100 iRev. July 1, 2009i                                                                                                                             tvww'counNnro ca.pov
                                                                          20STCV27919
           Case 2:20-cv-11670-PSG-AS
                     Assigned
                                     Document 2 Filed 12/28/20 Page 6 of 69 Page ID #:17
                                        for all purposes to: Stanley Mosk Courthouse, Judicial Officer: Barbara Scheper



 iicall     ILED by Superior Court of California, County of Los Angeles on 07/24/2020 01:29 PM Sherri R. Carter, Executive
                                                                                                                             Officer/Clerk of Court, by M. Barel,Deputy Clerk
   1!
      Joseph S. Farzam, Esq. (SBN: 210817)
  2 ' Stephen J. Duron, Esq. (SBN: 263485)
  3 i JOSEPH FAR7.AM LAW FIRM
      A Professional Law Corporation
  4 11766 Wilshire Blvd., Suite 280
    ; Los Angeles, California 90025
  5
      Telephone: (213) 480-6200
  6 Facsimile: (213) 480-6201

   7         Attorney for Plaintiff,
           ' MEESA BRADLEY
  8

  9:;                                     SUPERIOR COURT OF THE STATE OF CALIFORNIA
 lo                                        COUNTY OF LOS ANGELES — CENTRAL DISTRICT
 11
                                                                                    ,
12          MEESA BRADLEY, an Individual,                                                    CASE NO.: 20GT" CV 2791 9

                                              Plaintiff,                                     COMPLAINT FOR DAMAGES FORt

14
13 I V.                                                                               ~ 1. DISCRIlMNATION IN VIOLATION OF
                                                                                      — —GOV'T. CODE §§-12940 ET SEQ.;
15
            MAKE-UP ART COSMETICS, INC., a                                               2. HARRASSMENT IN VIOLATION OF
16          Delaware Corporation; and DOES 1 through                                E GOV'T. CODE §§ 12940 ET SEQ.;
            20, inclusive,                                                           j 3, RETALIATION IN VIOLATION OF
17
                                                                                         GOV'T. CODE §§ 12940 ET SEQ.;
18                                         Defendants                                    4. FAILURE TO PREVENT
                                                                                         DISCRIMINATION, HARASSMENT AND
19                                                                                       RETALIATION IN VIOLATION OF GOV'T.
20
                                                                                         CODE § 12940(k);
                                                                                         5. WRONGFUL TERMINATION IN
21                                                                                       VIOLATION OF PUBLIC POLICY;
                                                                                         6, INTENTIONAL INFLICTION OF
22
                                                                                         EMOTIONAL DISTRESS; and
23                                                                                  ~ 7, NEGLIGENT HIRING AND
                                                                                    ~    SUPERVISION.
24 ;
      ij
                                                                                     ~       [DEMAND FOR JURY TRIAL]
25 3i

26.':''

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                                                                      COMPLAINT FOR DAMAGES
            Case 2:20-cv-11670-PSG-AS Document 2 Filed 12/28/20 Page 7 of 69 Page ID #:18



         I T            COMES NOW Plaintiff Meesa Bradley, an Individual (hereinafter referred to as 'Plaintiff' or~
V



      2     ;"Bradley"), by and through their attorneys of record, the Joseph Farzam Law Firm, A Professional Law '.
      3     ;' Corporation, hereby alleges for causes of action against Defendants Make-Up Art Cosmetics, Inc., a~
      4        Delaware Corporation ("Defendant" or "MAC") and Does 1 through 20, as follows:
      5                                                   dURISDICTION
      6     '       1. This Court is the proper court, and this action is properly filed in Los Angeles County, because;
      7,: Defendant obligations and liability arise therein, because Defendant mairitains offices and transact
      g business within Los Angeles County, and because the work that is the subject of this action
                                                                                                          was '
      9 performed by Plaintiff in Los Angeles County.
     io '
                                                              PA~:.
    11      2. Plaintiff, Meesa Bradley, an Individual ("Plaintiff' or. "Bradley") is, and at all times
                                                                                                        relevant ,
    12 ' hereto, was a resident of the City of Compton, County of Los Angeles,
                                                                               State of California.
    13             3. Plaintiff is informed and believes and upon such basis alleges, that at all times relevant hereto,
    14 ~Defendant Make-Up Art Cosmetics, Inc., a Delaware Corporation ("Defendant"
         3                                                                              or "MAC") was and is '
    15 ~i still doing business at 400 Stonewood Street, in the City of Downey, County of Los Angeles, State
                                                                                                            of ;.
    16 : iCalifornia_
    17             4. Plaintiff is informed and believes and upon such basis alleges, that at a11 times relevant
                                                                                                                 hereto,
    18 1 [Defendant owned and operated a chain of retail cosmetic stores.
    19 1,    5. At all times relevant herein, MAC and Does 1 through 20 were Plaintiffs employers,
                                                                                                               joint'; ;~
    20, employers and/or special employers within the meaning of Government Code §§
                                                                                               12926, subdivisiori ~
    21 :~(d), 12940, subdivisions (a),(h),(1), (h)(3)(A), and (i), and 12950, and regularly
                                                                                            employ five (5) or more ~
       `                                                                                                                   ti
    22 ;:persons and are therefore subject to the jurisdiction of this Court.
    23 .::   6. At all times relevant herein, MAC and DOES 1 through 20 were Plaintiff s
                                                                                                 employers, jointi
    24 employers and/or special employers within the meaning of the Labor Code and
                                                                                               Industrial Welfare .`
    25 ~ Commission, Order No. 4-2001, and are each any "employer or other person acting on
                                                                                                     behalf of an,°
    26 ;~ employer" as such term is used m Labor Code section 558, and liable to Plaintiff on that basis.
                                                                                                                       ,.
                                                                                                                       ~   ~I

    27 '°          7. The true names and capacities, whether individual, corporate, associate, or                      3

                                                                                                  otherwise, of the '
    28          Defendants named herein as DOES 1 through 20, inclusive, are unknown to Plaintiff at
                                                                                                      this time and ~


                                                                  2

                                                      COMPLAIIVT FOR DAMAGES
                     Case 2:20-cv-11670-PSG-AS Document 2 Filed 12/28/20 Page 8 of 69 Page ID #:19



                      therefore said Defendants are sued by such fictitious names. Plaintiff will seek leave to amend this
                      complaint to insert the true names and capacities of said Defendants when the same become known to
                       Plaintiff. Plaintiff is informed and believes, and based thereupon alleges, that each of the fictitiously
                       named Defendants is responsible for the wrongful acts alleged herein and are therefore liable
                                                                                                                              to
                     I Plaintiff as alleged hereinafter.
                         8. PlaintifP is informed and believes, and based thereupon alleges, that at all times relevant hereto,
                     'Defendants, and each of them, were the agents, employees, managing agents, supervisors,
                      coconspirators, parent corporation, joint employers, alter egos, successors, andlor joint ventures of the
                     !other Defendants, and each of them, and in doing the things alleged herein, were acting at least in part '
                      within the course and scope of said agency, employment, conspiracy, joint employer, alter ego
                                                                                                                       status, :
                     ;successor status and/or joint venture and with the permission and consent of each of the other ;
              12     Defendants.                                                                                     f
              13 '      9. Plaintiff is informed and believes, and upon such basis alleges, that Defendants, and each of
          14         them, including those defendants named as DOES 1 through 20, acted in concert with one another to
.,.:._..:.~                                                                                                                         ,
          1s     commit the wrongful acts alleg ed herein, and aided, abett ed, incited, compelled and/or coerced one `
          16 another in the wrongful acts alleged herein, and/or attempted to do
                                                                                            so, including pursuant to
          17 Government Code §12940(i). Plaintiff is further informed and believes, and
                                                                                              upon such -basis alleges, ,
          1s that Defendants, and each of them, including those defendants named as DOES
                                                                                                 lthrough 20, and each: :-
          19 of them, formed and executed a conspiracy or common plan pursuant to which they
                                                                                                     would cornmit thei; ;i
          20 '! 'unlawful acts alleged herein, with all such acts alleged herein done as part of
                                                                                                   and pursuant to said:; ~
 :        21 ;.;conspiracy, intended to cause and actually causing Plaintiffharm.
                                                                                                                               ~.  ;,
          22       10. Whenever and wherever reference is made in this complaint to any act or failure
                                                                                                         to act by a; ;
          23 ' ;Defendant or co-Defendant, such allegations and references shall also be deemed
                                                                                                    to mean the acts ;;
          24 ";'and/or failures to act bY each Defendant acting'mdividually, jointly and severally.                 i=
          25,      11. Plaintiff has filed complaints of discrimination, harassment, retaliation,
                                                                                                  failure to prevent;:'1'
                                                                                                                        ~
         26 [ discrimination, harassment or retaliation, and wrongful termination under Government
                                                                                                     Code §§ 12940,
         27 ; et seq., the California Fair Employment and Housing Act ("FEHA") with the California
                                                                                                       Department of,;
         2s ,J Fair Employment and Housing ("DFEH"), and has satisfied Plaintiff's administrative
                                                                                                   prerequisites with' .'


                                                                         3

                                                             COMPLAINT FOR DAMAGES
               Case 2:20-cv-11670-PSG-AS Document 2 Filed 12/28/20 Page 9 of 69 Page ID #:20



      1   respect to these and all related filings. See Exhibit 1, attached hereto and incorporated in full by this
•      ;.
      2 i reference.

      3                                                    FACTUAL ALLEGATIONS..
      4          12. On or about June 1, 2004, MAC hired Plaintiff to work as a Make-Up Artist. Prior to Plaintiffs,
      5 'I I termination, Plaintiff was assigned to work at the MAC location in the
                                                                                     Macy's Department Store at ]
     6          11Stonewood Mall in the City of Downey, California. Plaintiff was a full-time, non-exempt employee, I
      7        II and performed all of PlaintifPs job duties satisfactorily before Plaintiff was wrongfully terminated on l
           ;
     g]'I or about August 30, 2019.
     9         I'I  13. PlaintifPs hourly wage rate was $19.25. Plaintiffs fixed schedule was five days per week, ,,
    10         11approximately 8 to 10 hours per day.
    1 t'                 14. Plaintiff was assigned to work at the MAC counter at Macy's. Throughout her workday, :
    12               Plaintiff was subjected to and overheard racial slurs (some in English and some in Spanish) directed at .
    13               Plaintiff from a work staflE that was primarily Hispanic (approximately 95%). Plaintiff complained to '
    14   her store manager and asked for a transfer to another store. The Manager told Plaintiff that she
                                                                                                          could
    15 ' not transfer because there were no openings at any other store. ~ However,
                                                                                    Plaintiff knew there were ~
    16 ' openings at other loca.tions at the time.
    17                  15. Soon after Plaintiff made her complaint to her manager, Plaintiff was retaliated against by her
    i$              manager by being removed from helping clients if the clients spoke Spanish even though it
                                                                                                                was clear
    19              that many of these clients had a working knowledge of the English language. Then, Plaintiff
                f                                                                                               was given
    20 !':a written disciplinary write-ups for productivity being lower than company standards
                                                                                                       even though ₹
    21 TPlaintiff had experienced extraordinarily little, if any, disciplinary action in over
                                                                                              fifteen-(15) years of
    22 ; : employment with MAC.                                                                                     ;
    23                  16. One night after leaving work, Plaintiff was threatened by, the Store Manager when
                                                                                                                Plaintiff and '
    24 ,the Store Manager crossed paths on the way to their cars. The Store Manager
                                                                                                     actually challenged
    25 I'f!Plaintiff to a fight in the parking lot. After that incident, Plaintiff felt an apprehension in
                                                                                                           going to workx ~
    26 „I (,each day for fear of physical harm.                                                                             ~
    27 '       17. Plaintiff then made a complaint with Human Resources regarding the racially driven                       I
                                                                                                              speech, thel. :.i
    2s i;harassment, hostile work environment and the retaliatory actions and threats taken by
                                                                                                               her Storei :


                ~
                                                                       4

                                                           COMPLAINT FOR DAMAGES
             Case 2:20-cv-11670-PSG-AS Document 2 Filed 12/28/20 Page 10 of 69 Page ID #:21



     1        1Vlanager and staff.   No action was taken by Human Resources: no consultation, intervviews or
.
     Z        investigations took place to address Plaintiff's complaint. Plaintiff also requested a transfer from the ~
     3        Stonewood Mall location but her request was denied.  Instead, Plaintiff's complaint caused the
     4 'harassment to escalate and she was retaliated against
                                                              by receiving numerous write-ups after a stellar,;
     5 employment record for over fifteen (15) years.

     6           18. On August 30, 2019, Plaintiff was unlawfully ternunated under the pretext that she was unable "'
         ;
     7        to rneet cornpany sales standards, despite being prevented from performing her duties fully due to racial .
     $; and national origin motivated actions, harassment and retaliation from store management. 'Plaintiff s
     9   termination was substantially motivated by Plaintiffls race and national origin. MAC and
                                                                                                     "Doe" '
    10 ' Defendants discriminatory animus is evidenced by the previously
                                                                         mentioned facts.
    11        19. MAC and "Doe" Defendants' conduct described herein was undertaken, authorized and/or
    12 ' ratified by MAC and "Doe" Defendants' officers, directors and/or rnanaging agents, and those
    13 ''.' identified as Does 1 through 20, who were authorized and empowered to make
                                                                                        decisions that reflect `
    14 and/or create policy for Defendants. The aforementioned conduct of said
                                                                                      managing agents and '
    15 mdividuals was therefore undertaken on behalf of Defendants who furEher had advanced knowledge
                                                                                                            of
                                                                                                               ~
    16 ' the actions and conduct of said individuals whose actions and conduct were
                                                                                    ratified, authorized, and '
    17 approved by managing agents whose precise identities are unknown to Plaintiff at this time
                                                                                                      and are '
    18       therefore identified and designated herein as DOES 1 through 20, inclusive.
    19      20. As a result of MAC and "Doe" Defendants' actions, Plaintiff has suffered and will continue
                                                                                                              to '
    20 suffer general and special damages, including severe and profound pain and emotional
                                                                                              distress, anxiety, ;
    21 ' depression, headaches, tension, and other physical ailments, as well as medical
                                                                                         expenses, expenses for i
    22       psychological counseling and treatment, and past and future lost wages and benefits.                       ~
    23      21. As a result of the above, Plaintiff is entitled to past and future lost
                                                                                             wages, bonuses, ;
    24 ' cornmissions, benefits and loss or diminution of earning capacity.                                   I~
    25      22. Plaintiff claims general damages for emotional and mental distress and
                                                                                       aggravation in a sum ini ~
    26       excess of the jurisdictional minimum ofthis Court.                                                         ~

    27           23. Because the acts taken toward Plaintiff were carried out by offieers, directors
                                                                                                     and/or managing;
    2s       agents acting in a deliberate, cold, callous, cruel and intentional manner, in conscious
                                                                                                      disregard of. ;


                                                                  5

                                                     COMPLAINT FOR DAMAGES
      Case 2:20-cv-11670-PSG-AS Document 2 Filed 12/28/20 Page 11 of 69 Page ID #:22



  1
   ; Plaintiff's rights and in order to injure and damage Plaintiff, Plaintiff requests that punitive damages be'
  2 levied against MAC and "Doe" Defendants and each of them, in sums in excess
                                                                                             of the jurisdictional
  3         minimum of this Court.
  4

  5                                             .FIRST CAUSE OF ACTION
  6   '..
                    FOR DISCRIMINATION IN VIOLATION OF GOV'.T CODE $~12940 ET SEO .
                                                                                            _           -
  7                                                (Against All Defendants)
  8            24. Plaintiff re-alleges and incorporates by reference each of the foregoing paragraphs as though set
  9         forth in full herein.
 lo '          25. At all times hereto, the FEHA was in full force and effect and was binding upon MAC, "Doe"
11          Defendants and each of them.
12      26. As such tenm is used under FEHA, "on the bases enumerated in this part" means or refers to
13 'Aiscrimination on the bases of one or more of the protected characteristics under
                                                                                      FEHA.
14             27. FEHA requires MAC and "Doe" Defendants to refrain from discriminating against an employee
15          on the basis of race or natfonal origin and to prevent discrimination, harassment or discrimination on
16          the basis of race or national origin, and engagement in protected activities from occurring.
17 '           28. Plaintiff was a member of multiple protected classes as a result of Plaintiff's race and national '{
ls [orioin.

19             29. At all times relevant hereto, Plaintiff was performing competently in the position Plaintiff held
20          with MAC and "Doe" Defendants.                                                                             ~
21 ;;     30. Plaintiff.. suffered the adverse employment actions of unlawful discrimination, harassment,:;
22 '.failure to investigate, remedy, and/or prevent discrimination, harassment and
                                                                                          retaliation, and;;
23 'termination, and was harmed thereby.
24             31. Plaintiff is informed and believes that Plaintiff's race and national origin and/or
                                                                                                       some.
25          combination of these protected characteristics under Government Code §12926(j) were motivating
26      reasons and/or factors in the decisions to subject Plaintiff to the aforementioned adverse employment:
27 '; ; i'actions.

28.     (




                                                   COMPLAINT FOR DAMAGES
       Case 2:20-cv-11670-PSG-AS Document 2 Filed 12/28/20 Page 12 of 69 Page ID #:23



 1     II
        32. Said conduct violated the FEHA, and such violations were a proximate cause in Plaintiff's
 2 ; damages as stated below.                                                                         ;.

 3   '`          33. The damage allegations of Paragraphs 20-22, inclusive, are herein incorporated by reference.
                                                                                                                         ,,.
 4 E              34. The foregoing conduct of MAC and "Doe" Defendants individually, or by and through their~
 5            officers, directors and/or managing agents, was intended by the Defendants to cause injury to the'
 6            Plaintiff or was despicable conduct carried on by the Defendants with a willful and conscious disregard
 7            of the rights of Plaintiff or subjected PlaintifP to cruel and unjust hardship in conscious disregard of;
 g            Plaintiffs rights such as to constitute malice, oppression, or fraud under Civil Code §3294, thereby. .
 9            entitling Plaintiff to punitive damages in an amount appropriate to punish or make an example of
10            Defendants.                                                                                                r
11                35. Pursuant to Government Code §12965(b), Plaintiff requests a reasonable award of attorneys' :
12            fees and costs, including expert fees pursuant to the FEHA.
13 ,`.

                                                                                                                               ;
14                                               SECOND CAUSE OF ACTION                                                        :.
15 '                   FOR HARRASSMENT IN VIOLATION OF GOV'T CODE,$&12940 ET SE4'
16 '                                                (Against A11 Defendants)
17               36. Plaintiff re-alleges and incorporates by reference each of the foregoing paragraphs as though set
is ' `forth in full herein.
19               37. At all times hereto, the FEHA was in full force and effect and was binding upon Defendants and .
20 ; each of them.
21                38. As such term is used under FEHA, "on the bases enumerated in this part" means or refers to ;`
22            harassment on the bases of one or more of the protected characteristics under FEHA.
23               39. These laws set forth in the preceding paragraph requires 1VIAC and "Doe" Defendants to refrain
24 i from harassing, or creating, or maintaining a hostile work environment against an employee based upon :
   ;
   ,
25 ; the employee's race , and national origin, and engagement in protected activities, as set forth
26 ;hereinabove.
          .
27 '             40. Plaintiff was subjected to unwanted harassing conduct by MAC's Store Manager and other :
2$            employees because of Plaintiff's race and national origin.




                                                     COMPLAINT FOR DAMAGES
        Case 2:20-cv-11670-PSG-AS Document 2 Filed 12/28/20 Page 13 of 69 Page ID #:24



 1              41. The harassing conduct by MAC'S Store Manager and other employees was severe or pervasive ;
 2          and was unwelcome by Plaintiff.
 3              42. A reasonable person in Plaintiff s circumstances would have considered the work environment
 4' ,       to be hostile or abusive.
 5             43. Plaintiff considered the work environment to be hostile or abusive.
 6             44. MAC's Store Manager and other employees were employed by MAC and was Plaintiff s ;
 7          supervisor and engaged in unwanted harassing conduct against Plaintiff. MAC knew or should have' '
 s          known of the conduct (especially since Plaintiff reported the harassing conduct to Human Resources)
 9 '        and failed to take immediate and appropriate corrective action. MAC is vicariously liable for its Store
10 :        Manager and other employees' conduct.
11'            45. MAC and "Doe" Defendants violated the FEHA and the public policy of the State of California
12          which is embodied in the FEHA by creating a hostile work environment and harassing Plaintiff because ;
13          of Plaintiffs race, national origin, engagement in protected activit.ies, and/or some combination ofthese
        E

14          protected characteristics, as set forth hereinabove. Such violations were a proximate cause in PlaintifPs
15 idamage as stated below.
16             46. The above said acts were perpetrated upon Plaintiff by a supervisor; andlor Defendants knew or
17          should have known of the conduct but failed to take immediate and appropriate corrective action.
18             47. The damage allegations of Paragraphs 20 through 23, inclusive, are herein incorporated by
19      reference.

20             48. Defendants' conduct was a substantial factor in causing Plaintiff's injuries.
21 }           49. The foregoing conduct of MAC and the "Doe" Defendants individually, or by and through their~
22;'; fiofficers, directors and/or managing agents, was intended by the Defendants to cause injury to
                                                                                                           the`
231              or was despicable conduct carried on by the Defendants with a willful and conscious disregard
24 ;; Tof the rights of Plaintiff or subjected Plaintiff to cruel and unjust hardship in conscious disregard
                                                                                                             of~
25, ,'Plaintiff's rights such as to constitute malice, oppression, or fraud under Civil Code §3294, thereby;
26       entitling Plaintiff to punitive damages in an amount appropriate to punish or make an example
                                                                                                       of,~
27 ;;'' ;Defendants.                                                                                      ~
2s


                                              _    ----__.                                                             _.   '
                                                                                                   -=_-_--   -- ....
                                                                                                           -----
                                                                                                         ---     __-
                                                               8                                                            ; il
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                                                   COMPLAINT FOR DAMAGES
                                                                                                                            ~~:
      Case 2:20-cv-11670-PSG-AS Document 2 Filed 12/28/20 Page 14 of 69 Page ID #:25



 1         50. Pursuant to Govenunent Code §12965(b), Plaintiff requests a reasonable award of attorneys'
 2   ? fees and costs, including expert fees pursuant to the FEHA.
 3

 4
                                               ,THIRD CAUSE OF ACTION.
 s                                                                                     ,..
      ~               FOR RETALIATION IN VIOLATION OF GOV'T CODE &~ 12940 ET SEO
 6
                                                  (Against All Defendants)
 7:            51. Plaintiff re-alleges and incorporates by, reference each of the foregoing paragraphs as though set
 s         forth in full herein.
 9             52. At all times hereto, the FEHA was in full force and effect and was binding upon Defendants
10        I and each of them.
11           53. These laws set forth in the preceding paragraph require Defendants to refrain from retaliating
12        against an employee for engaging in protected activity.
13            54. Plaintiff complained of racial slurs being made and other racial motivated treatment she'
14        received from to the Store Manager and to Human Resources.
is             55. Defendants MAC and DOES 1- 20 engaged in the aforementioned adverse employment actions
16'       against Plaintiff in retaliation for her making complaints of racial and national origin discrimination.
17           56. PlaintifPs.complaints of racial and national origin discrimination were a motivating reason for '
ls        Defendants MAC and DOES 1-20s' adverse employment actions of unlawful harassment, :
19         discrimination, failure to investigate, remedy andlor prevent discrimination and termination agairist t
20        ,'Plaintiff and Plaintiff was harmed thereby.
21            57. MAC and the "Doe" Defendants violated the FEHA by retaliating against Plaintiff and
22        terminating Plaintiff for attempting to exercise Plaintiff s protected rights, as set forth hereinabove.
23           58. Plaintiff is informed and believes, and based thereon alleges, that the above acts of retaliation
24        committed by MAC and the "Doe" Defendants were done with the knowledge, consent, and/or
25        ratification of, or at the direction of, each other Defendant and the other Managers.                         I
26            59. The above said acts of MAC and the "Doe" Defendants constitute violations of the FEHA, and
27 1I.were a proximate cause in PlaintifP s damage as stated below.
2s




     II                                                        9

                                                   COMPLAINT FOR DAIviAGES
         Case 2:20-cv-11670-PSG-AS Document 2 Filed 12/28/20 Page 15 of 69 Page ID #:26



  1               60. The damage allegations of Paragraphs 20 through 23, inclusive, are herein incorporated by
         "
  2           reference.
 3                    61. The foregoing conduct of MAC and the "Doe" Defendants individually, or by and through their
 4   officers, directors and/or managing agents, was intended by the Defendants to cause injury to the '
 5. PlaintifP or was despicable conduct carried on by the Defendants with a willfal and conscious disregard
 6. of the rights of, Plaintiff or subjected Plaintiff to cruel and unjust hardship in conscious disregard of r
 7 Plaintiffls rights such as to constitute malice, oppression, or fraud under Civil Code §3294, thereby !
 8            entitling Plaintiff to punitive damages in an amount appropriate to punish or make an example of
 9

10               62. Pursuant to Government Code §12965(b), Plaintiff requests a reasonable award of attorneys'
11           fees and costs, including expert fees pursuant to the FEHA.
12

13                                                 FOURTH _CAUSE OF ACTION                                                '
                                                                                 ---...
14           FOR FAILURE...TO PREVENT DISCRIIVIINATION~ HARASSMENT.AND RETALIATION IN
             ~... .
ts                                           VIOLATION OFGOV'T CODE:S 12940(kl:.                                           ~
                                                                                                                          ~
16                                                    (Against All Defendants)
17 '              63. Plaintiff re-alleges and incorporates by reference each of the foregoing paragraphs as though
                                                                                                                      set'~.
18           forth in full herein.
                                                                                                                          ~F
ig ,₹; j          64. At all times hereto, the FEHA, including in particular Government Code §12940(k), was in
                                                                                                               full; €
20 "i :force and effect and was binding upon MAC and the "Doe" Defendants. This
                                                                                  subsection imposes a;,' ~.
                                                                                                          .:,
                                                                                                           ,
21 duty on Defendants to take all reasonable steps necessary to prevent discrimination,
                                                                                        harassment; and,` ~'
22 retaliation from occurring. As alleged above, Defendants violated this subsection
     ,                                                                               and breached their~
23            duty by failing to take all reasonable steps necessary to prevent discrirnination, harassment
                                                                                                            andj
24           fretaliation from occurring.
                                                                                                                           ;
Zs              65. Plaintiff was exposed to harassing conduct, discrimination, and retaliation because of her
                                                                                                               race::
26           and national origin.
27 ;,            66. Defendants MAC and DOES 1-20 failed to take reasonable steps to prevent the
     ;
                                                                                                 harassment,
2s           discrimination, and retaliation.



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                                                       COMPLAINT FOR DAMAGES
     Case 2:20-cv-11670-PSG-AS Document 2 Filed 12/28/20 Page 16 of 69 Page ID #:27



           67. Defendant MAC and DOES 1-20s' conduct was a substantial factor in causing PlaintifPs;
 2     injuries.
 3        68. The above said acts of MAC and the "Doe" Defendants constitute violations of the FEHA, and
 4   ' were a proximate cause in Plaintiff s damage as stated below.
 5         69. The damage allegations of Paragraphs 20 through 23, inclusive, are herein incorporated by
 6     reference.
 7'       70. The foregoing conduct of MAC and the "Doe" Defendants individually, or by and through their
 8     officers, directors and/or managing agents, was intended by the Defendants to cause injury to the
 9     Plaintiff or was despicable conduct carried on by the Defendants with a willful and conscious disregard
10    of the rights of Plaintiff or subjected Plaintiff to cruel and unjust hardship in conscious disregard of
1~    Plaintiff s rights such as to constitute malice, oppression, or fraud under Civil Code §3294, thereby
12  entitling Plaintiff to punitive damages in an amount appropriate to punish or make an example of
13: Defendants.
14        71. Pursuant to Government Code §12965(b), Plaintiff requests a reasonable award of attorneys'
15    fees and costs, including expert fees pursuant to the FEHA.
16




21        72. Plaintiff re-alleges and incorporates by reference each of the foregoing paragraphs as though
                                                                                                              set
22 1[' forth in full herein.
23        73. At all relevant times mentioncd in this complaint, the FEHA was in full force and effect
                                                                                                       and ;
24    was binding on MAC and the "Doe" Defendants. This law requires Defendants to refrain, among other
                                                                                                           t
25    things, from discriminating against any employee on the basis of race or national origin and
                                                                                                     from :
26    retaliating against any employee who engages in protected activity.                                           a
                                                                                                                    ,~
27      74. Plaintiff experienced racial and national origin discrimination that was known to
                                                                                               Defendants
2s    MAC and DOES 1-20. Plaintiff believes and thereon alleges that Plaintiffls race, national
                                                                                                origin and :


                                                         II

                                             COMPL,AIIVT FOR DAIVIAGES
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                                                                                                                            i




  1             engagement in protected activity with respect to these protected classes, and/or some combinations
  2            thereof, were factors in MAC and the "Doe" Defendants' conduct as alleged hereinabove.
  3                75. Defendant MAC discharged Plaintiffls employment or caused her employment to be
 4             discharged. Such discrimination and retaliation, resulting in the wrongfal termination of Plaintiffs
 5              employment on the basis, Plaintiff's complaining of harassment and discrimination due to these
 6             protected classes, Plaintiff s engagement in protected activity, and/or some combination of these
 7             factors, were a proximate cause in Piaintiff's damages as stated below.
 g                76. The above said acts of Defendants constitute violations of the Government Code and the public
 9 '; policy of the State of California embodied therein as set forth above. Defendants violated these laws by '
lo !1 discriminating, harassing and retaliating against Plaintiff and terminating Plaintiff's employment in ,
               retaliation for exercise of protected rights.
12                77. Plaintiffs race and/or national origin were motivating reasons for Plaintiffls discharge. At all '
13             times mentioned in this complaint, it was a fundamental policy of the State of California that '
14             Defendants cannot discriminate and/or retaliate against any employee in violation of FEHA.
15 ''              78. Defendants MAC's and DOES 1-20s' conduct was a substantial factor in causing Plaintiffs'
16             iniuries_
t7 11      .
             79. The damage allegations of Paragraphs 20 through 23, inclusive, are herein incorporated by
18     . reference.l
19     '          80. The foregoing conduct of MAC and tlie "Doe" Defendants individually, or by and t,hrough their
20             officers, directors and/or managing agents, was intended by the Defendants to cause injury to the,
                              ,
21             Plaintiff or was despicable conduct carried on by the Defendants with a wilTful and conscious disregard.'i
22             of the rights of Plaintiff or sabjected Plaintiff to cruel and unjust hardship in conscious disregard of
                                                                                                                       .
23             Plaintiffls rights such as to constitute malice, oppression, or fraud under Civil Code §3294, thereby:
24             entitling Plaintiff to punitive damages in an amount appropriate to punish or make an exatnple of
25             Defendants.
                                                                                                                I
26

27 l l //

28..




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                                                         COMPLAINT FOR DAMAGES
     Case 2:20-cv-11670-PSG-AS Document 2 Filed 12/28/20 Page 18 of 69 Page ID #:29



 1   `                                            SIXTH CAUSE ACTION,
 2                           ,.INTENTIONAL INFLICTION`OF EMOTIONAL DISTRESS
 3                                                (Against All Defendants)
 4   f:       81. Plaintiff re-alleges and incorporates by reference each of the foregoing paragraphs as though
                                                                                                                  set
 5   ;I'1 forth in full herein.
 6   11       82. Defendants' conduct as alleged herein was made with a willful and wanton disregard for
 ~' Plaintiffls rights and well-being and intended to cause Plaintiff emotional distress; or
                                                                                             acted with
 g reckless disregard of the probability that she would suffer emotional distress.
 9            83. Plaintiff suffered severe emotional distress.
10            84. Defendants intended to cause Plaintiff emotional distress or acted with reckless disregard
                                                                                                               of the
11        probability that she would suffer emotional distress.
12           85. Defendants' conduct was a substantial factor in causing Plaintiff severe emotional distress.
13 '         86. Defendant MAC and DOES 1-20s' conduct was deliberately and knowingly done with malice,
14 ; oppression, fraud and a willful and wanton disregard as to Plaintiff's rights and well-being that punitive
is ~ damages against them are warranted.
16

17                                             SEVENTH CAUSE ACTION
18    :                               NEGLIGENT HIRING AND SUPERVISION
19                                                (Against All Defendants)
zo           87. Plaintiff re-alleges and incorporates by reference each of the foregoing paragraphs as though
                                                                                                                 set
21 1 forth in full herein.
22      88. Plaintiff experienced racial and national origin discrimination that was known to
                                                                                              Defendants
23 1 [MAC and DOES 1-20.
24           89. As Plaintiffs employer, Defendant MAC owed Plaintiff duties of care including'providing
                                                                                                             a
2s        work place free from harassment and discrimination amounting to a hostile work, enviionment
                                                                                                      by other
26        employees including Plaintiffs Store Manager; diligently supervising and training
                                                                                                   employees,
27  including Plaintiffls Store Manager, not to engage in conduct constituting harassment
                                                                                                     and
2s discrimination against other einployees, including Plaintiff, amounting to a hostile work
   I.                                                                                        environment;r'


                                                              13

                                                  COMPLAINT FOR DAMAGES
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                                                                                                     L•



  1    ` terminating the employment of employees, including Plaintiff s Store Manager, engaging in such '
  2      conduct or otherwise creating a hostile work environment.
  3               90. Defendant 1VIAC breached those duties to Plaintiff because Plaintiff s Store Manager and co-
  4            workers' conduct as alleged hereinabove constituted harassment and discrimination amounting to a 3
       ;
  5    ; hostile work environrnent of which Defendant MAC knew or should have known but failed to take '
  6    ~ steps to prevent and/or stop.
  7               91. Plaintiff suffered injuries including emotional distress and loss of income.
  8        ;      92. Defendant 1ViAC's conduct was a substantial factor in causing Plaintiff s injuries.

  9                                                   ;PRAYER.FOR RELIEF,
                                                                                                                          ,
 lo ''                WHEREFORE, Plaintiff seeks judgment against Defendants and each of them, in an amount
11             according to proof
12                    1.      For a money judgment representing compensatory damages including lost wages,
13             earnings, conunissions, retirement benefits; and other employee benefits, and all other sums of money, ;
14             together with interest on these amounts; for other special damages; and for general damages for mental
                                ..._ m
                                                                               -m-                        ,..~.w.
 is            pain and anguish and emotional distress and loss of earning capacity;
16 "                  2.
                   For prejudgment interest on each of the foregoing at the legal rate from the date the                      t



17 fobligation became due through the date of judgment in this matter;
                                                                                                                          i
18                    WHEREFORE, Plaintiff fanher seeks judgment against Defendants, and each of them, in an
19 :' amount according to proof, as follows:
20                    3.     For general dainages according to proof;
                                                                                                                          ~
                                                                                                                          ~
21                    4.     Compensatory damages according to proof;                                                     ~
22                    5.
                 For punitive damages, pursuant to Civil Code §§3294 in amounts sufficient to punish {'
23 Defendants for the wrongful conduct alleged herein and to deter such conduct in
                                                                                    the future;              ~
24 ;~    6.      For costs of suit, attorneys' fees, and expert witness fees pursuant to the FEHA, and/or;:~ ~
zs ' -any other basis;
                                                                                                                     k~
26..~                7.      For post judgment interest; and
27 .                 8.      For any other relief that is just and proper.                                            1_
           ~
28




                                                                   14

                                                       COMPLAINT FOR DAMAGES
    Case 2:20-cv-11670-PSG-AS Document 2 Filed 12/28/20 Page 20 of 69 Page ID #:31



1   ' tDATED: Julv 24. 2020                                                   FARZAM LAW FARM
2                                                                                  ~~-
                                                                   -
3'                                                         By.          w.,
                                                                       ..      -   ~~

4
                                                                 Josep ~i S: Far; ; Esq.
                                                                 Stenhen J. Duron. Esa.
s
                                                                 Attomey for Plaintiff
                                                                 MEESA BRADLEY
6           JUIaY T1aIAL DEMANDED.

7           Plaintiff demands triai of all issues by jury,y.


                                                                  ' I~'~ ~~Ai~ZA1NlE LAW FIItM
                                                                  =
                                                                        `




                                                                 Josep' 'h'S. FarZam, Esq.
                                                                 Stenhen J. Duron. Esa.
                                                                 Attorney for Plaintiff
                                                                 MEESA BRADLEY




                                                          is

                                              COIVIPLAIAiT FOR DAIVIAGES
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                             EXHIB!T 1
Case 2:20-cv-11670-PSG-AS Document 2 Filed 12/28/20 Page 22 of 69 Page ID #:33
        $SATE OF CALIFORNIA I Buslnesa Censumer S+nikes end Hauslna Aawm                 GAVIN NFwcnne r r.nvFwunw

        DEPARTMENT OF FAIR EMPLOYMENT 8~ HOUSING                                              i~VIN KISH. OIRECTOR
                       ~e, Sufte 11m 1 E!k arove I CA 195758
        (8010) ggq.lggq (Volce)1(800) 700-2320 (TTY) I CelUomla's Relay Service at 711
        httpJhvww.dfeh:ca.pov I Email: cwrdact.cerder@dfeh.ca.gov


  July 23, 2020

  Stephen Duron
  11766 Wilshire Blvd., Ste 280
  l_os Angeles, Califomia 90025

  RE:   Notice to Complainant's Attorney
        DFEH Matter Number: 202007-10758023
        Right to Sue: Bradley / Make-Up Art Cosmetics, Inc.

 Dear Stephen Duron:

 Attached is a copy of your complaint of discrimination filed with the Department of Fair
 Employment and Housing (DFEH) pursuant to the Califomia Fair Employment and
 Housing Act, Government Code section 12900 et seq. A(so attached is a copy of your
 Notice of Case Closure and Right to Sue.

 Pursuant to Government Code section 12962, DFEH will not serve these
 documents on the empioyer. You must serve the complaint separately, to all named
 respondents. Please refer to the attached Notice of Case Closure and Right to Sue for
 information regarding fiiing a private lawsuit in the State of Califomia. A courtesy "Notice
 of Filing of Discrimination Complaint" is attached for your convenience.

 Be advised that the DFEH does not review or edit the complaint form to ensure that it
 meets procedural or statutory requirements.

 Sincerefy,


 Department of Fair Employment and Housing
  Case 2:20-cv-11670-PSG-AS Document 2 Filed 12/28/20 Page 23 of 69 Page ID #:34
                      STATE OF CALIFORNIA I 9eslnesa Consumar Servloesand Hol ina Aaen^•
j'a\
  ~~•
                 ..                                                                                   eVJ(~ N~utanu~ rnvcRunR
        ~7
k ~~ A ~ ~ ~          DE IPARDMENT OF FAroR EMPfiOYMENT & HOUSING                                        KEVIN KISH, DIRECTOR
                      2218 usen u                58
  ~ ', ~:.  4-        (800) 884-1684 (Votce)1(800) 700-2320 (fTY) I CaOfomia's Relay Service at 711
  • nr;; ; .~         htfp://www.dfeh.ca.gov I Emall: contact.center@dteh.ce.gov


         Juiy 23, 2020

         RE:          Notice of Fiiing of Discrimination Complaint
                      DFEH Matter Number: 202007-10758023
                      Right to Sue: Bradley / Make-Up Art Cosmetics, Inc.

        To AII Respondent(s):

         Enclosed is a copy of a complaint of discrimination that has been filed with the
        Department of Fair Employment and Housing (DFEH) in accordance with Government
        Code section 12960. This constitutes service of the complaint pursuant to Government
        Code section 12962. The complainant has requested an authorization to file a lawsuit.
        This case is not being investigated by DFEH and is being ciosed immediately. A copy of
        the Notice of Case Closure and Right to Sue is enclosed for your records.

        Please refer to the attached complaint for a list of all respondent(s) and their contact
        information.

        No response to DFEH is requested or required.

        Sincerely,


        Department of Fair Employment and Housing
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                           COMPLAINT OF EMPLOYMENT DISCRIMINATION
                                 BEFORE THE STATE OF CALIFORNIA
                         DEPARTMENT OF FAIR EMPLOYMENT AND HOUSING
                         Under the California Fair Employment and Housing Act
 3ii
                                     (Gorr. Code, § 12900 et seq.)
 4
         n the Matter of the Complaint of
 5       Meesa Bradley                                          DFEH No. 202007-10758023
 6
                                    Complainant,
 7
 8       Make-Up Art Cosmetics, Inc.
         7 Corporate Center Dr.
 9       Melville, New York 11747
10
                              Respondents
11         m.

12 1. Respondent Make-Up Art Cosmetics, Inc. is an employer subject to suit under
   the Califomia Fair Employment and Housing Act (FEHA) (Gov. Code, § 12900 et
13 seq )
14
        2 Complainant Meesa Bradley, resides in the City of Compton State of California.
15
     3. Complainant alleges that on or about August 30, 2019, respondent took the
16 following adverse actions:
  11
17 Complainant was harassed because of complainant's race, national origin
18 (includes 'language restrictions), color.

19; Complainant.was discriminated against because of complainant's race, national
  ~ origin (includes language r.estrictions), color and as a result of the discrimination was
20; terminated, reprimanded, denied orforced to transfer.
21
      Complainant experienced retaliation because complainant reported or resisted
22 `; any form of discrimination or harassment and as a result was -terminated,
      reprimanded, denied or forced to transfer.
23
24 ... Additional Complaint Details:
                                        Complainant was hired on or about June 1, 2004, as
25      a Make-Up Artist where she performed client consultations and sales for
        Respondent; Malce-Up Art Cosmetics, Inc. Complainant was assigned to wrk at the
26
27
28111
        Date Filed: July23, 2020
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      Stonewood Mall store within the Macy's Department Store. Complainant was the
      sole AfricanAmerican Make-Up Artist at the Stonewood Mall location; the remainder
   2 ;of the staff being Hispanic,
                                   except for one African-American cashier. Complainant
         'was singied out and bullied by other staff and her manager based upon her race
  3                                                                                       and
         'national origin. Because most customers were Spanish speaking, Complainant was
  4       harassed and ridicuied by staff and her manager because Complainant could not
        l'speak Spanish. Complainant requested a transfer to another store location but her
         E
  5       requests were denied even though Complainant knew of openings at other locations.
          Complainant endured constant and relentiess racial slurs and innuendo which
  6      `created a hostile work environment based upon race and national origin because
  7,      Complainant couid not speak Spanish. Complainant felt threatened by her manager,
        'the harassment and hostiie work environment and reported this to Human
  8     ~Resources but no action was taken: no consultation, interviews or investigations
        took piace. Instead, Complainant's compiaints caused the harassment to  escalate
 9 and she was retaliated against by receiving
                                                  numerous write-ups after a stellar
     empioyment record with Respondent for over flfteen (15) years. In a final
10                                                                              act of
     r,etaliation, Complainant was terminated on, August 30, 2019.
   i
11~

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27 Ji

28 'I~:Date Filed: July 23, 2020
     Case 2:20-cv-11670-PSG-AS Document 2 Filed 12/28/20 Page 26 of 69 Page ID #:37




  1 VERIFICATION

  2 ;I, Stephen Duron, am the Attorney in the above-entitled complaint. I have read the
  3 !foregoing complaint and know the contents thereof. The matters alleged are based
    ;on information and belief, which I beiieve to be true.
 4
    On July 23, 2020, 1 declare under penalty of perjury under the laws of the State of
  5 Califomia that the foregoing is true and correct.

  6                                                                     Los Angeles, California
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27                                                       - _   -----.   _---_ _         --.       -   -
                                   Complainf — DFEH No. 20200710758023
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       Date Filed: July 23, 2020
Electronically FILED by Superior Court of California, County of Los Angeles on 67/~4%~02~ 09 29
            Case 2:20-cv-11670-PSG-AS Document 2 Filed 12/28/20 Page 27 of 69 Page ID #:38      PM Sherri R. Carter, Executive Officer/Clerk of Court, by M. Barel,Deputy Clerk
                       - .       -                                ._.....   ,.             _.                                                    _..
                                                              Bernumber, and address):                                                   FOR COURT USB OIQLY
       S~tep~ten JP~onSB :26y~8g}~' ~te
       JOSEPH FARZAM LAW FIltM, APLC
       11766 Wilshire Blvd., Ste. 280
       Los Angeles, CA 90025
                          !
           TELEPHONE NO.: 1 310) 226-6890                                 FAx NO.: (310) 226-6891
        TToRNEY FOR (Neme): plal}1t1ff,~1Vleesa Bradle';__--
                                                                                              --       -
        PERIOR COURT OF CALIFORNIA, COUNTY oF " I,OS MGE + LES                                 "
          sTREETADDRESs: 111 Hill Street:
           MAILING ADDRESS:
          CITY AND ZJP CODE:      Los Angeles 90012
              BRANCH NAME: . Stal~ey Mosk           Courthouse

                                                                                                                                                 ......_._. _ _
        CIVILCASE'COVER SHEET                                               Compl®x Case f~e8ignatbn
                                                                                                                         CASENUMBER:
     0✓  Unlimited                 O umited                    ;                                                             2 OST CV 2 7 9'I 9
         (Amount          (Amount                     ~     Counter       ~     Joinder       -                                                        -                    --
         demanded         demanded is                Filed with first appearance by defendant ; JUDGE:
         exceeds $25,000) $25,000 or less)               (Cal. Rules of Court, rule 3.402)       DEPT:
                    _.
                                   ltems 1-6 be/ow must be compteteed (see lnsttictions on bave 2).                                          -                     -
                                          —
      ;Check one box beiow, for the ease type that best describes this case:
         Auto Tort                                                 Contract                                       Provisiona[ly Complex Civil Litigation
              Auto (22)                                            F—I Breach of contracUwarranty (06)            (Cal. Rules of Court, rules 3.400-3.403)
        ~      Uninsured motorist (46)                             E] Rule 3.740 collections (09)                 ~     Antitrust/Trade regulation (03)
        Other PUPDIWD (Persona[ Injury/Property                    El     Other collections (09)                  []    Construction defect (10)
        DamagelWrongful Death} Tort
                                                                          Insurance coverage (18)                 0     Mass tort (40)
        0     Asbestos (04)                                        Q      Other contract (37)                     ~     Securities IiUgation (28)
        1:3 Product liability (24)                                 Real Property                                  0     EnvironmentaUToxic tort (30)
        0     Medical maipractioe (45)                                    Eminent domaiNlnverse                   0     insurance coverage claims arising from the
        E7 Other PI/PDNUD (23)                                           condemnation (14)                              above listed provisionaily compiex case
         Non-PUPDMfD (Other) Tort                                  Q     Wrongfu[ eviction (33)                         types (41)
        ~     Business tort/unfair business practice (07)                other real property (26)                 Enforcement of Judgment
        ~     C[vll rights (08)                                    Unlawful Detainer                              =     Enforcement of judgment (20)
        0     DefamaUon (13)                                             Commercial (31)                          Miscellaneous Civil Complaint
        C   ] Fraud (16)                                                  Residentia[ (32)                        ~    RICO (27)
        ~     Intellectual property (19)                           Q      Drugs (38)                              0    Other compiaint (not specifred above) (42)
        0     Professional negiigence (25)                         Judicial Rev[ew
                                                                                                                  Misc®1[aneous Civil Petition
        ~     Other non-PI/PDNUD tort (35)                               Asset forfeiture (05)
                                                                                                                  ~    Partnership and corporate govemance (21)
         Em loyment                                                0      Pet[tion re: arbitration award (11)
                                                                                                                  Q    Other pet[tion (not speciBer! above) (43)
        Ir,J Wrongfui termination (36)                             Q     Writ of mandate (02)
   I, _~ . Other employment (15)                                   Q. Other )udicial review'(39)                                                                                       a
     1.
   2. This case ~_ ~ Is               not     complex under rule 3,400 of the Califomia Rufes of coIf
                                                                                                    urt the case is complex, mark the
      factors requiring exceptional judicial management
      a. Q     Large number of separately represented parties        d. F—I Large number of witnesses
      b.[]     Extensive motion practice raising difficuit or novel e. F—] doordination with refated
                                                                                                       actions pending in one or more courts
               issues that wiA be time-consuming to resolve                 in other counties, states, or countries, or in a federai court
      c. C~ Substantial amount of documentary:evidence              f. 0     Substantial posludgment judicial supervislon
   3. Remedies sought (check a# that appJy): a.© monetary b. ED nonmonetary; declaratory or
                                                                                            injunctive relief                                                     C. © punitive
   4. Number of causes of action (specffy): Seven (7)
   5. This case []      is   ©     is not a class action suit.                              _.... '
    . If there are any:known related cases, fiie and serve a notice of related:'~ ° e..: :-;
                                                                                 .       ..                              ~
   Date:_ July 24, 2020
   _
                 - •                         --           .                                                " ~-
                                                                                 _.-     -         L
                            -      fTYPE OR PRINT NAME1               —                  -"
                                                                                      ".                           _                   —                   ----      ,
                                                                          -NOTICE                              __
                                                                                                                                              - _--"        ---
      . Plaintiff must file this eover sheet with the first paper fiied in the action or proceeding
                                                                                                     (except small claims cases or cases filed                    ~
         under the Probate Code, Family Code, or Weifare and Institutions Code). (Cal.
                                                                                               Rules of Court, rule 3.220.) Failure to file rnay result; ₹
  !      in sanctions.
      • File this cover sheet In addition to any cover sheet required by local court rule.
      • If this case is complex under rule 3.400 et seq. of the Califomia Rules of
                                                                                         Court, you must serve a copy of this cover sheet on all
  '      other parties to the action or proceeding.
      • Unless this is a collections case under rule 3.740 or a complex case, this cover
                                                  ... . :.                                      sheet will be used for statistical purposes onlar,
                                                                               _                                                                               I~ ;
    Form Aiiopted for Mendatory use
      Jualdel counral ofc~rramie                           C.    CASE COVER SHEET                             cet RWes otcourR n,les 2.30; a.22o, s:a0o 3.4oa; 3 740;'
      CW010 [Rev. July 1, 2007]                                                                                                   Cel. Standards of Judlclal AdmlNslraUon, atd. 3.10
                                                                                                                                                               vAwwoourNnM:ca.gov
         Case 2:20-cv-11670-PSG-AS Document 2 Filed 12/28/20 Page 28 of 69 Page ID #:39

                                      INSTRUCTIONS ON HOW TO COMPLETE THE COVER SHEET                                                        CM-010
 To Plalntiffs and Others, Filing First Papers. if you are filing a first paper (for example, a complaint) in a
                                                                                                                   civil case, you must
 complete and file, along with your first paper, the Cfvil Case Cover Sheet contained on page 1. This information will
 statistics about the types and numbers of cases filed. You must complete items 1 through 6 on the sheet. In item be      used to compile
                                                                                                                       1, you must check
 one box for the case type that best describes the case. If the case fits both a general and a more specific type of
                                                                                                                           case listed in item 1,
 check the more specific one. If the case has multiple causes of actfon, check the box that best indicates the primary
 To assist you In ccmpleting the sheet, examples of the cases that belong under each case type in item 1 are provided cause of action.
                                                                                                                                below. A cover
 sheet must be filed only with your inidal paper. Failure to file a cover sheet with the first paper fifed in a civil case
                                                                                                                           may subject a party,
 its counsel, or both to sanctions under rules 2.30 and 3:220 of the Califomia Rules of Court.
 To Parties In Rule 3.740 Collectlons Cases. A"collecfions case" under rule 3.740 is defined as an action
                                                                                                                         for recovery of money
 owed in a sum stated to be certain that is not more than $25,000, exclusive of interest and attorney's fees, arising
                                                                                                                           from a transacdon in
 which properly, services, or money was acquired on credit. A collections case does not include an action
                                                                                                                 seeking the following: (1) tort
 damages,       (2) punitive damages, (3) recovery of real property, (4) recovery of personal prope►ty, or (5) a prejudgment
 attachment. The identification of a case as a rule 3.740 collections case on this form means that it will be                   writ               of
                                                                                                              exempt from the general
 time-for-sen►ice requirements and case management rules, unless a defendant files a responsive pleading.
                                                                                                               A rule 3.740 collections
 case will be subject to the requirements for service and obtaining a judgment in rule 3.740.
 To Parties In Complex Cases. In complex cases only, parties must aiso use the Cfvil Case Cover
                                                                                                      Sheet to designate whether the
 case is complex. If a plaintiff believes the case is complex under rule 3.400 of the California Rules of Court, this must be indicated
 complettng the appropriate boxes in items 1 and 2. If a plaintiff designates a case as complex, the cover sheet                            by
                                                                                                                       must be served with the
 complaint on all parties to the action. A defendant may file and serve no later than the time of
                                                                                                         its first appearance a joinder in the
 plaintiffs designafion, a counter-designatlon that the case is not complex, or, if the piaintiff has
                                                                                                      made no designation, a designation that
 the CeS@ IS COmpl@X.
                                                            CASE TYPES AND EXAMPLE3
 Auto Tort                                       Contract                                           Provisionally Complex Civll Lltigation (Cal.
    Auto (22)-Personal Injury/Property                Breach of Contracf/Warranty (06)              Rules of Court Rules 3.400-3.403)
            DamagelWrongful Death                         Breach of RentaULease                          AntitrusUTrade Regulation (03)
      Uninsured Motorist (46) (if the                        Contract (not untawlul detainer             Construction Defect (10)
          cas® involves an uninsured                             or wrongiul eviction)                   Claims Involving Mass Tort (40)
          motortst claim subject to                       Contract/Wan•anty Breach-Seller                Securities Litigation (28)
          arbitration, check this item                       Plaintfff (not haud or negligence)          EnvironmentaUToxic Tort (30)
          instead of Auto)                                Negligent Breach of Contractl                  Insurance Coverage Claims
 Other PIIPDIWD (Personal injury!                             Warranty                                       (arising fiom p►ovislonally complex
 Property Damage/Wrongful Death)                          Other Breach of ContracUWarranty                   case type listed above) (41)
 Tort                                                Coilections (e.g., money owed, open             Enforcement of Judgment
      Asbestos (04)                                       book accounts) (09)                            Enforcement of Judgment (20)
         Asbestos Property Damage                         Collection Case-Seller PlainUff                    Abstract of Judgment (Out of
          Asbestos Personal lnjuryl                       Other Promissory Note/Collections                       County)
               Wrongful Death                                 Case                                           Confession of Judgment (non-
     Product Liability (not asbestos or              Insurance Coverage (not provisionaliy                        domestk:.nrlations)
         toxicJenvironmental) (24)                        complex) (18)                                      Sister State Judgment
     Medical Malpractice (45)                             Auto Subrogation                                   Administrative Agency Award
           Medical MalpracBce-                            Other Coverage                                        (not unpaid taxes)
               Physicians 8 Surgeons                 Other Contract (37)                                     Petifion/Cerfification of Entry of
         Other Professional HeaBh Care                    Contrractual Fraud                                     Judgment on Unpaid Taxes
               Malpractice                                Other Contract Dispute                             Other Enforcement of Judgment
    Other PIIPDIWD (23)                          Real Property                                                    Case
         Premises Liability (e.g., slip             Eminent Domainlinverse                           Miscellaneous Civit Compiaint
               and fail)                                 Condemnation (14)                              RICO (27)
         tntentional Bodily Injury/PD/WD            Wrongful Eviction (33)                               Other Complaint (not speciried
               (e.g., assault, vandatism)           Other Real Property (e.g., quiet titie) (26)             above) (42)
         intentional Infliction of                       Writ of Possession of Real Property                 Declaratory,Relief Only
               Emotional Distress                        Mortgage Foreclosure                                Injunctive Relief Only (norr
         Negligent Infliction of                         Quiet Title                                             ha►assment) ,
               Emotional Distress                        Other Real Property (not eminent                     Mechanics Lien
         Other PIIPD/WD                                  domain, landloni/tenant or                          Other Commercial Complaint
Non-PIIPDMYD (Other) Tort                                forec/osurre)                                           Case (non-tort/non-;omplex)
    Business Tort/Unfair Business                Unlawful Detainer                                           Other Civil Complaint
       Practice (07)                                Commercial (31)                                             (non-fort/non-complex)
    Civil Rights (e.g., discrimination,             Residential (32)                                 Miscellaneous Civil Petition
        false arrest) (not civil                    Drugs (38) (if the case Involves illegal             Partnership and Corporate
        harassment) (08j                                 drugs, check this Ifem; othervvise,                Govemanoe (21)
   Defamatlon (e.g., slander, libel)                     report as Commercial or Residenttan             Other Petition (not spwried
          (13)                                   Judlcial Review                                            above) (43)
   Frraud (16)                                      Asset Forfeiture (05)                                   Civil Harassment
   Intellectual Property (19)                       Petition Re: Arbitration Award (11)                     Workpiace Voience
   Professional Negligence (25)                     Writ of Mandate (02)                                    ElderlDependent Adult
       Legal Malpractice                                WritAdministrative Mandamus                              Abuse
       Other Professional Malpractice                   WritMandamus on Limited Court                       Eiection Contest
            (no          a                                  Case Matter                                      Petition for Name Change
    Other NontPi/PDIWD Torta(35)                                                                             Petition for Relief From Late
Employment                                              Writ-Other Limited Court Case
                                                                                                                 Claim
   Wrongful Termination (36)                                Review                                           Other Civil Pefition
   Other Employment (15)                            Other Judicial Review (39)
                                                        Review of Health OfBcer Order
                                                        Notice of Anoeal-Labor
CM-010 iRev. July 7, 2ao~                                              - -- - ----
                                                     CIVIL CASE COVER SHEET
          Case 2:20-cv-11670-PSG-AS Document 2 Filed 12/28/20 Page 29 of 69 Page ID #:40
 _                                                                                 ------.           ~ =-
  SHORT TITLE:                                                                                        __                    __ __
                    Bradl®y v. Make-U p Art Cosmetics, Inc.                                         ~         c-                   -        ~~   CASE NUMaER
                                                                                                                                            ~


                                                      CIVIL CASE COVER SHEET ADDENDUM AND
                                                              STATEMENT OF LOCATION
                    (CERTIFICATE OF GROUNDS FOR ASSIGNMENT TO COURTHOUSE LOCATION)
                                                                                                                        .. -           ..                                                               _
                   This form Is required pureuenq to Local Rule 3.3 In all newr civil caae filings In the Loa
                                                                                                              Angeles 3uperrior Cour(.


      Step I: After completing the Civil Case Cover Sheet (ludicial Council.form CM-010), find the
                                                                                                   exact case type in
              Column A that corresponds to the case type indicated in the Civil Case Cover Sheet.

      Step 2: In Column B, check the box for the type of action that best describes the nature of the case.

      Step 3: In Column C, circle the number which explains the reason for the court filing location you have
                           chosen.

                                          --_. -_ Applicable oseasons f®r Choosing Court Fillng Location (Columd C)
                                                                                                                                                                                 !
1: Cass actions must be filed in the Staniey Mosk Courthouse, Central District.                                     7. Location where petitioner resides.
2. Pennissive filing in central district.                                                                           8. Location wherein defendantirespondent functions wholly.
3.Location'wFiere cause of action arose.                                                                            9. Location where one or more of the parties reside.
4. Mandatory personal injury fiting in North District.                                                             10. Location of Labor Commissioner Office.
B. Location vhere performance nequired or defendant rasides.                                                       11.. Mandatory filine location (Hub Cases - unlawful detainer, limited
                                                                                                                   non-collection, limited collection, or personal injury).
6. Location of property or permanently garaged vehicle,



                                                                                             ' .....::. ..:         T    ......8       . . ...
                            Civil Case C ver Sheet                                                                   ype of Action
                                  Category No.                                                                                                                                    Applicable Reasons =.
                                                              ,.                                                   (Check onty one)                                    .
                                                                                                                                                                                   , ee Step 3 Atiove :
                                   Auto (22)                      ❑   A7100 Motor Vehicle - Personal Injury/Property DamagelWrongful Death                                       1, 4,11
                                                                                                                                                                   _         ,
     a~       =            Unlnsured Motorist (46)                0   A7110 Personai Injury%Property Damage/Wrongful Death — Uninsured Motorist :' 1,
                                                                                                                                                      4, 11
                                                                                                                                                                                     _--.        .          .. ..-.,
                                                                  ❑   A6070 Asbestos Property Damage
                                Asbestos (04)                                                                                                                                    1. 11
                                                                  ❑   A7221 Asbestos = Personal InjurylWrongful Death
                   - :..
                   ~.-                   ,..:.                           ,       - :                                                                            .__.:_ ~                    ._       . ..
                                                                                                                                                                 __:- , .                        --
                             Product Liabitity (24)               ❑   A7260 Product Liability (rtot asbestos or toxic/environmental)                                             .1, 4,11
                                                                                                                                                                                                               =:
                                                                  ❑   A7210 Medical Malpractice - Physicians & Surgeons                                                          1, 4,11                               ~
                           Medicai Malpractice (45)
                                                                  ❑   A7240 Other Professional Health Care Matpractice                                                       ` 1, 4,11

                                                           I ❑ A7250 Premises Liability (e.g., slip and fall)                                                                                                          ~
                               Other Personal               I                                                                                                                ~ 1~ 4, 11
               =               Injury Property             ~; ;❑ A7230 Intentional t3odiiy-Injury/Property DamageNVrongful Daath {e.g.,
               ;              DamagerWrongful              i! a               assault, vandatism, etc.)                                                                      ~ 1, 4, 11                                l
               !                  Death (23)               ~: ~ p     A7270 Intentional Infliction of Emotional Distress                                  ,                      1, 4, 11                              ~
                                                             ' ❑ A7220 OtherPersonallnjury/PropertypamagelWrongfulDeath                                                          1,4,11




                                                      _.                                                                           ._. ..                __-.

  LASC CIV 109 Rev.12/1a                                   CIVIL CASE COVER SHEET ADDENDUM                                                                                  Local Rule 2.3
  For Mandatory Use                                           AND STATEMENT OF LOCATION                                                                                          Page 1 of 4
        Case 2:20-cv-11670-PSG-AS Document 2 Filed 12/28/20 Page 30 of 69 Page ID #:41
                                                                                                                                 _, .:-.   ...,.....       ....,-......... ..:...:..........:...._........:._..._....:.....-:.......::............:::::::_....._.: ,..:~:........
SHORTTITLE:                                           ......- ....•-.... - :--.....----.._.. ......_...............~.._::-~-.:
                                                                                ._. _ ..------..        ._...
                  Bradley.v. Make-Up Art Cosmet(cs, tnC.                                                                               ' CASE NUMBER



                                                                                                                           B:                                                                               --e. .:
                                                                                                                                                                                                                          C ApPlicable .
                             Civil Case;Cover Sheet                                                                  Type of Action                                                                                    Reasons - See Step 3'
                                   Category No.                                                                     (Check only one)                                                                                                       Above ;: .                               ;i
                               Business Tort (07)                        ❑ A6029 Other CommerciaUBusiness Tort (not fraudlbreach of contract)                                                                         1, 2, 3
                                                                                                                                                                                                                                                                   . .._~. ;
                                Civil Rights (08)                ; ❑ A6005 Civil RlghtslDiscrimination
          r                                                      ,                                                                                                                                                  '~,1, 2, 3                                                      ~
                                                                                                                                                                                                                                                                                    ~
                                Defamation (13)                          ❑    A6010 Defamation (slandeNlibel)                                                                                                         1, 2,3

                                   Fraud (16)                            ❑ A6013 Fraud (no contract)                                                                                                                  1,2,3

                                                                         ❑ A6017 Legal Maipractice                                                                                                                    1,2,3
                    Professional Negligence (25)
                                                                      ❑ A6050 Other Professional Malpractice (not medical or legal)                                                                                  1,2,3

                                  Other (35)                          ❑ A6025 Other Non-Personal Injury/Property Damage tort
                    _...
                           Wrongfui Tennination (36)                  m A6037 ..Wrongful Termination
   ~
   E
   0                                                                  ❑ A6024 Other Employment Complaint Case
                            Other Empioyment (15)
    E                                                                 ❑ A6109 LaborCommissionerAppeals
   W

                                                                     ❑ A6004 Breach of RentaULease Contract (not unlawfui detainer or wrongful
                                                                             eviction)                                                                                                                               2.5
                    Breach of Contract/ Warranty
                                (06)               ❑ A6008 ContracWlfarranty Breach ~eller Plaintiff (no fraud/negligence)                                                                                           2,5
                          (not insurance)        ; ❑ A6019 Negligent Breach of ContractNVarranty (no fraud)                                                                                                         1,2,5
                                                                     ❑ A6028. Other Breach of ContractlWarranty (not fraud or negligence)                                                                     ~r01,2,5

                                                                  : ❑ A6002 Collections Case-Seller Plaintiff                                                                                                 ` ` 5, 6,11
                               Collections (09)
              ;                                                   _❑ A6012 Other Promissory NotelCollections Case                                                                                             ~ ,.        .
                                                                                                                                                                                                              (' S~ 11
                                                                  ': ❑ A6034 Coliections Case-Purchased Debt (Charged Off Consumer Debt                                                                             5, 6, 11
                                                                             Purchased on or after Janua' ` 1 2014).
                                                                                                                                                                                                                                                                            ~
                           Insurance Coverage (18)                   ❑ A6015 Insurance Coverage (not compiex)                                                                                                       1, 2, 5, 8                                               i
                                                                                                                                                                                               .. - - .. . .
                                                                     ❑       A6009 Contractual Fraud
                             Other Contract (37)                     ❑ A6031 Tortlous Interierence                                                                                                            t 1, 2, 3, 5
                                                                  ' ❑ A6027 Other Contract DisPute not breachrnsurancelfraudlnegligence                                                                            :1, 2, 3, 8, 9
                                                                                           _.....-             _ . ..    .,                            z                                                      ;
                           Eminent Domainllnverse
                             Condemnation (14)                       ❑       A7300 Eminent DomaiNCondemnation                               Number of parcels                                                      2, 6
                                                                                   _-    . .           ..     _. .                            . ..
                            Wrongful Eviction (33)                   ❑       A6023 Wrongful Eviction Case                                                                                                          2, 6
                                                                 ~                                                                                                                _
                                                                     ❑       A6018 Mortgage Foreclosure                                                                                                            2,6
                           Other Real Property (26)                  ❑       A6032 Quiet Titie                                                      2,6
                                                                 ;❑ A6060 Other Real Property (not emi►ient domain, landlord/tenant, foreclosure) ; 2,6
                                                                                    .. _
                  Un1awful Det ,rcial
                                  -Comme                       ; ❑
                                                                   A6021 Unlavrfui Detainer-Commercial (not dnsgs or vrtongful eviction)                                                                     , 6, 11
                              {31
                   Unlawful Detainer-Residential .0
          ;_ .. . ..             ,                                           A6.020
                                                                                  1 Unlawful Detainer-Residential (not drugs or wrongful eviction)—_                                                               6, 11 _
          ,-:...     . .....
           i         Unlawiul Detainer- ,                                                                                                                                       :-_
           z~     Post-Foreciosure 34 :                           ❑          A6020FUn1avrfui Detainer-Post-Foreclosure                                                                                             2, 6, 11
          ; Uniawful Detainer-Drugs (38)                          ❑          A6022 Unlawful Detainer-Dnigs
                                                                                                                                                                                                                   26
                                                                                                                                                                                                                    ,~ 11
                                                                                                                                                                                                                       11

                                                                                    ...                                                                                         .....                         _             .,.......
LASC Clv 109 Rev.12/18                                         CIVIL CASE COVER SHEET ADDENDUM                                                                                                            Local Rule 2:3
For Mandatory Use                                                            AND STATEMENT OF LOCATION                                                                                                             Page 2 of 4
         Case 2:20-cv-11670-PSG-AS Document 2 Filed 12/28/20 Page 31 of 69 Page ID #:42
                                                                         ==
! SHORTTITLE:.Bradley V. Make-Up
                                 Art Cosmetics, In_._
                                                   c.


                                      A                                                                                                                                                                                               a
                                                              ,                                                 B                                                                   C Applicable
                          Civil Case Cover Sheet                                                         Type of Piction .
                   ;            Category No.                                                                                                                                     Reasons - See 5tep 3
                                                                                                        (Check oniy one) .                                                             Above
              ~I
              ( :i
                           Asset Forfeiture (05)                  ❑   :A6108 Asset Forfeiture Case                                                                               2~ 3~ 6
                                                                                                                              _..         _...            ,.                                                                  ~.
                                                                                                                                                                     .                     _       _._.....
              1€        Petition re Arbitration (11)              ❑ A6115 Petsion to CompeUConfirmNacateArbitration
              ~.                                                                                                                                                                 2, .5                                                '
                                                                                                                                                                             ~                                                :~,
                                                                  ❑ A6151 Writ - Administrative Mandamus
              •.                                                                                                                                                                 Z, 8                                                 "
                          Writ of Mandate (02)                    ❑ A6152 Writ - Mandamus on Limfted Court CaselMafter
              6
              ~ .__..                                             ❑ A6153 Writ - Other Umited Court Case Review                                                                2                                     ,
                                                                                                              _._:. . ._::.-_~.:..--
                                                                                                                                   ....... .... ..                           .::.              _
                                                                                                                                                                                               ._.~      .. .
                                                                                                                                                                                                   ~-_.._-- . .........:
                        Other Judicial Review (39)                ❑ A6150 Other Writ /Judicial Review                                                                          2, g
                                                                                                                                                      ,
                      AntitrustlTratle Re ufation 03          ❑ A6003 Antitrust/Trade Reguiation                                                                              ~~ 2, g
              z    .... .... .:...       ~ . ... . ......                                                               ._.. ._     _           --    -    ------                                         -_            _-_
                                                                                                                           --.......•     -_-                                                                   ....
              +         Construction Defect (10)              ❑ A6007 Construcbon Defect
                                        ,          ..                   .                                                                                                     i, 2, 3                            T-_ ~
                                                                                                                    -     -- - - _-_        -        -- -_ --- _----                                                 !`
                       Claims Involving Mass Tort             ❑ A6006 Claims
                                    (4a)                                     Involving Mass Tort                                                                              1' 2, 8                                         ~
           ;
              j         Securities Litigation (28)            ❑ A6035 Securities Litigation Case                                                                                                                              `3
                                                                                                                                                                             1,2,8
                                                               __     _ ._.....   ._..                                        _.._                              -.
                               Tobc Tort                      ❑ A6036 Toroc Tort/Environmental
                           Environmental (30)                                                                                                                                1, 2, 3, 8                                       ;
    .3        : ..                                                                                                                   .-          -                                               _...------
                                                                                                                                                                                                        __
                                                                                                                                                          -- - -
    ~                  nsurance Coverage Claims               ❑ A6014 insurance Covera
                        from Complex Case (41)                                        9e/Subrogation (com PIex case only)                                                    1,2, 5, 8

                                                              ❑ A6141 Sister State Judgment                                                                                2, 5,11
                                                              ❑ A6160 Abstract of Judgment                                                                               ;;2, 6
                              Enforcement                     ❑ A6107 Confession of Judgment (non-domestic r+elations)                                                   ~'2 g
                            of Judgment (20)                  ❑ A6140 Administrative Agency Award (not unpaid taxes)
                                                                                                                                                                             2,8
                                                              ❑ A6114 PetitioNCertificate for Entry of Judgment on Unpaid Tax
                                                                                                                                                                             2.8
                                                              ❑ A6112 Other Enforcement of Judgment Case                                                                     2, 8, g

                                RICO (27)                    ❑ A6033 Racketeering (RICO) Case
                                                                                                                                                                              , 8
                                                                                                                                                                             12,
                                                                                                                                                                                                     .__..              _
                                                             ❑ A6030 i7eclaratory-Relief Onty
                                                                                                                                                                             1, 2, 8
                       OtherComplaints                       13 A6040 Injunctive Relief Only (not domesticJharassment)
                                                                                                                                                                             2,8
                  ?(Not Specified Above) (42)                ; ❑ A6011 Other Commercial
                                                                                         Compiaint Case (non-tort/non-compiex)                                               1,2, 8
                                                             ❑ A6000 Other Civil Complaint (non-tort/non-complex)
                                                                                                                                                                                    ,
                        PartrCership Corpora8on                                                                                                                                                                         .,,
                           Govemance (21)                    ; ❑ A6113 Partnerahip and Corporate Govemance Case                                                              2.8

                                                             ' ❑ A6121 Civil Harassment With Damages
              '                                                                                                                                                              2, 3, g                                           !i
                                                            i~❑ A6123 Workplace Harassment With Damages                                                                      2, 3, 9
                          Other Petitions (Not
                                                            1;❑ A6124 EldertDependentAdultAbuse Case Wdh Damages
                                                                                                                                                                             2, 3, 9                                              ~
                         Specified Above) (43)
          I ~i                                          ;i !10 A6190 Elec#ion Contest                                                                                        2
              ;                                         4 ❑ A6110 Petition for Change of NamelChange of Gender                                                           '
                                                                                                                                                                             2,7
                                                             ❑ A6170 Petition for Relief from Late Claim Law
                                                                                                                                                                             2, 3, 8
          ;                                                  ❑ A6100 Other Civil Petition                                                                                                                                      i
                                                                                                                                                                             2, 9



                                                                                                                .       _..                                                      1.11                          _.._..
 LASC CIV 109 Rev.12/i8
                                                        CIVIL CASE COVER SHEET ADDENDUM                                                                              Loca l Rule 2.3
 For Mandatory Use                                         AND STATEMENT OF LOCATION                                                                                         Page 3 of 4
           Case 2:20-cv-11670-PSG-AS Document 2 Filed 12/28/20 Page 32 of 69 Page ID #:43
                                                                  -- _- _                                           — -"
 sHORT Tm E: gradley v. Make-Up Art
                                    Cosmetics, Inc.                                            CASE RUMBER




Step 4: Statement of Reason and Address: Check the appropriate boxes for the numbers shown
                                                                                                        under Column C for the
        type of action that you have seiected. Enter the address which is the basis for the fiiing location,
                                                                                                             inciuding zip code.
        (No address required for ciass action cases).
                                                                                                                           -- -- -- -- ----=-"-_= --"=
                                                                      ADDRESS:                                                               ~
    REASoN'
                                                                                                  251 Stonewood Steet                                       ~
    ❑ 1.02. ❑ 3. ❑ 4. ❑ 5. ❑ 6. ❑ 7. ❑ 8. ❑ 9. ❑ 10. ❑ 11.                                                                                                 ix




   CITY:                                  STATE:      ZIP CODE:

   Downey                               1,CA          90241

Step 5: Certificatiion of Assiignment: I certify that this case is properiy filed in the :~e~~~--:,-
                                                                                        ..:                                 District of
        the Superior Cou rt of Cafifornia, County of Los Angeles [Code Civ. Proc., §392       et seq., and Local Rule 2.3(a)(1)(E)}.


                                                                                          ~.
  Dated:, Juiy 24, 2020                                                              r'
                                                                                     ,.
                                                                                          (SiGNATURE OF ATTORIVIPOUNG PARTY)




  PLEASE HAVE THE FOLLOWING ITEMS COMPLETED AND READY TO ®E FILED IN
                                                                                                             ORDER TO PROPERLY
  COAAMENCE YOUR NEW COURT CASE:
      1. Original Complaint or Petition.
      2. If fiiing a Complaint, a compteted Summons form for issuance by the Clerk.
      3. Civil Case Cover Sheet, Judicial Councii form CM-010.
      4. Civil Case Cover Sheet Addendum and Statement of Location form, lAC1V 109,
                                                                                    LASC Approved 03-04 (Rev.
         02/16).                                                                                            .
      5. Payment in full of the filing fee, uniess there is court orderfor waiver, partiai or
                                                                                              scheduied
                                                                                             payments.
      6. Asigned order appointingthe Guardian ad Litem, Judicial Councii form CIV010, if
                                                                                         the
         minor under 18 years of age wilF be required by Court in order to issue a summons. piaintiff or petitioner is a
      7. Additional copies of documents to be conformed by the Clerk. Copies of the
                                                                                     cover
         must be served afong with the summons and compiaint, or other initiating pieading sheet and this addendum
                                                                                           in the case.




                                                                     , .. .. . . .                  :           --- --                       ::_.:._..._
 LASC CIv 109 Rev.l2na                 CIVIL CASE COVER SHEET ADDENDUM                                                      Local Ruie 2.3
 For Mandatoiy Use                        AND STATEMENT OF LOCATION                                                          . Page 4 of 4
Case 2:20-cv-11670-PSG-AS Document 2 Filed 12/28/20 Page 33 of 69 Page ID #:44




                  EXHIBIT B
         Case 2:20-cv-11670-PSG-AS Document 2 Filed 12/28/20 Page 34 of 69 Page ID #:45
                                                                         rar
               SUPERIOR COURT OF CALIFORNIA
                    COUNTY OF LOS ANGELES
  Stanley Mosk Courthouse                                                                               FILED
                                                                                               S e~ ~ r# ~ ~ fitmr ia
  111 North Hill Street, Los Angeles, CA 90012                                                  ~Uhtyof Losftgalas .
                                                                                                     07/2412020
                       NOTICE OF CASE ASSIGNMENT                                         snomi R Carb&,Exbt,ht Oftea Geik tjfCdLo
                                                                                           BY.          M. Baml        Dguty
                          UNLIMITED CIVIL CASE


   Your case is assigned for all purposes to the judicial officer indicated below.
                                                                                     I 20STCV27919
                           THIS FORM IS TO BE SERVED WITH THE SUMMONS AND COMPLAINT

                ASSIGNED JUDGE               DEPT      ROOM                    ASSIGNED JUDGE                DEPT      ROOM
    ✓     Barbara M. Scheper                30




    Given to the Plaintiff/Cross-Complainant/Attorney of Record
                                                                  Sherri R. Carter, Executive Officer / Clerk of Court
    on 07/24/2020                                                         By M. Barel
                 (Date)                                                                                                Deputy Clerk
LACIV 190 (Rev 6/18)       NOTICE OF CASE ASSIGNMENT — UNLIMITED CIVIL CASE
LASC Approved 05/06
         Case 2:20-cv-11670-PSG-AS Document 2 Filed 12/28/20 Page 35 of 69 Page ID #:46
                                   INSTRUCTIONS FOR HANDLING UNLIMITED CIVIL CASES

The following critical provisions of the California Rules of Court, Title 3, Division
                                                                                      7, as applicable in the Superior Court, are summarized.,,
for your assistance.

APPLICATION
The Division 7 Rules were effective January 1, 2007. They apply to all general civil cases.

PRIORITY OVER OTHER RULES
The Division 7 Rules shall have priority over all other Local Rules to the extent the others are
                                                                                                 inconsistent.
CHALLENGE TO ASSIGNED JUDGE
A challenge under Code of Civil Procedure Section 170.6 must be made within 15 days after notice
                                                                                                 of assignment for all purposes
to a judge, or if a party has not yet appeared, within 15 days of the first appearance:

TIME STANDARDS
Cases assigned to the Independent Calendaring Courts will be subject to processing under the
                                                                                             following     time standards:
COMPLAINTS
All complaiiits shall be served within 60 days of filing and proof of service shall be filed
                                                                                             within 90 days.
CROSS-COMPLAINTS
Without leave of court first being obtained, no cross-complaint may be filed by any party
                                                                                                   after their answer is filed. Cross-
complaints shall be served within 30 days of the filing date and a proof of service filed
                                                                                          within 60 days of the filing date.
STATUSCONFERENCE
A status conference will be scheduled by the assigned Independent Calendar Judge
                                                                                    no later than 270 days after the filing of the
complaint. Counsel must be fully prepared to discuss the following issues: alternative dispute
                                                                                               resolution, bifurcation, settlement,
trial date, and expert witnesses.

FINAL STATUS CONFERENCE
The Court will require the parties to attend a final status conference not more than 10 days
                                                                                                  before the scheduled trial date. All
parties shall have motions in limine, bifurcation motions, statements of major evidentiary
                                                                                                issues, dispositive motions, requested
form jury instructions, special jury instructions, and special jury verdicts timely filed and
                                                                                               served prior to the conference. These
matters may be heard and resolved at this conference. At least five days before this conference,
                                                                                                    counsel must also have exchanged
lists of exhibits and witnesses, and have submitted to the court a brief statement of the
                                                                                          case to be read to the jury panel as required
by Chapter Three of the Los Angeles Superior Court Rules.

SANCTIONS
The court will impose appropriate sanctions for the failure or refusal to comply with
                                                                                        Chapter Three Rules, orders made by the
Court, and time standards or deadlines established by the Court or by the Chapter Three
                                                                                        Rules. Such sanctions may be on a party,
or if appropriate, on counsel for a party.

This is not a complete delineation of the Division 7 or Chapter Three Rules, and
                                                                                 adherence only to the above provisions is
therefore not a guarantee against the imposition of sanctions under Trial Court Delay
                                                                                        Reduction. Careful reading and
compliance with the actual Chapter Rules is imperative.

Class Actions
Pursuant to Local Rule 2.3, all class actions shall be filed at the Stanley Mosk
                                                                                 Courthouse and are randomly assigned to a complex
judge at the designated complex courthouse. If the case is found not to be a
                                                                                  class action it will be returned to an Independent
Calendar Courtroom for all purposes.

*Provisionally Comnlex Cases
Cases filed as provisionally complex are initially assigned to the Supervising Judge
                                                                                      of complex litigation for determination of
complex status. If the case is deemed to be complex within the meaning of
                                                                              California Rules of Court 3.400 et seq., it will be
randomly assigned to a complex judge at the designated complex courthouse. If
                                                                                 the case is found not to be complex, it will be
returned to an Independent Calendar Courtroom for all purposes.




LACIV 190 (Rev 6/18)        NOTICE OF CASE ASSIGNMENT - UNLIMITED CIVIL CASE
LASC Approved 05/06
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                  EXHIBIT C
 Case 2:20-cv-11670-PSG-AS Document 2 Filed 12/28/20 Page 37 of 69 Page ID #:48
                                                                                                  2019-GEN-014-QO

                                                                                     FILED
 1                                                                            Superior Courl ot Califbrpla
                                                                                County ofLos Aageles
 2                                                                                  MAY 0.3 2019
 3                                                                        8hetrl   arter, E      OfdeerlClark
                                                                           BI►         ~     LYa ,Depnh
 4                                                                                    Itada Mina
 5
                            SUPERIOR COURT OF THE STATE OF CALIFORNIA
 6
                                    FOR THE COUNTY OF LOS ANGELES
 7

 8   IN RE LOS ANGELES SUPERIOR COURT )                 FIRST AMENDED GENERAL ORDER
     — MANDATORY ELECTRONIC FILING )
 9   FOR CIVII.,                      )
10                                                  )
                                                    )
11                                                  )

12          On December 3, 2018, the Los Angeles County Superior Court mandated
                                                                                         electronic filing of all
13   documents in Limited Civil cases by litigants represented by attorneys. On
                                                                                   January 2, 2019, the Los
14   Angeles County Superior Court mandated electronic filing of all documents
                                                                                     filed in Non-Complex
15   Unlimited Civil cases by litigants repre,sented by attomeys. (California
                                                                              Rules of Court, rule 2.253(b).)
16   All electronically filed documents in Limited and Non-Complex
                                                                   Unlimited cases are subject to the
17   following;
18   1) DEFINTTIONS
19      a) "Bookmark" A bookmark is a PDF document navigational tool that
                                                                          allows the reader to
20          quickly locate and navigate to a designated point of interest within a
                                                                                   document.
21      b) 'tEfiling Portal" The official court website includes a webpage, referred to as
                                                                                           the efiling
22          portal, that gives litigants access to the approved Electronic Filing Service
                                                                                            Providers.
23      c) `Tlectronic Envelope" A transaction through the electronic
                                                                      service provider for submission
24          of documents to the Court for processing which may contain one or
                                                                                   more PDF documents
25          attached.
26      d) "Electronic Filing" Electronic Filing (eFiling) is the electronic
                                                                             transmission to a Court of a
27         document in electronic form. (California Rules of Court, nile 2.250(b)(7).)
28


                        FIRST AMENDED GENERAL ORDER RE MANDATORY ELECTRONIC
                                                                            FILiNG FOR CIVIL
 Case 2:20-cv-11670-PSG-AS Document 2 Filed 12/28/20 Page 38 of 69 Page ID #:49
                                                                                               2019-GEN-014•QO



 1     e) "Electronic Filing Service Provider" An Electronic Filing Service Provider (EFSP) is a
 2        person or entity that receives an electronic filing from a party for retransmission to the Court.
 3        In the subnvssion of filings, the EFSP does so on behalf of the electronic filer and not as an
 4        agent of the Court. (California Rules of Court, rule 2.250(b)(8).)
 5     fl"Electronic Sfgnature" For purposes of these local rules and in conformity with Code of
 6        Civil Procedure section 17, subdivision (b)(3), section 34, and section 1010.6, subdivision
 7        (b)(2), Government Code section 68150, subdivision (g), and Califortia Rules of Court, rule
 8        2.257, the tenm "Electronic Signature" is generally defined as an electronic sound, symbol,
                                                                                                           or
 9        process attached to or logically associated with an electronic record and executed or adopted
10        by a person with the intent to sign the electronic record.
11     g) "Hyperlink" An electronic link providing direct access from
                                                                      one distinctively marked place
12        in a hypertext or hypermedia document to another in the same or different document.
13     h) "Portable Document Format" A digital document format that preserves
                                                                              all .fonts,
14        formatting, colors and graphics of the original source document, regardless vf the
                                                                                                application
15        platform used.
16   2) MANDATORY ELECTRONIC FII.ING
17     a) Trial Court Records
18        Pursuant to Government Code section 68150, trial court records may be created,
                                                                                               maintained,
19        and preserved in electronic format: Any document that the Court receives
                                                                                        electronically must
20        be clerically processed and must satisfy all legal filing requirements in
                                                                                    order to be filed as an
21        off cial court record (California Rules of Court, rules 2.100, et seq. and
                                                                                     2.253(b)(6)).
22     b) Represented Litigants
23        Pursuant to California Rules of Court, rule 2.253(b), represented litigants are
                                                                                            required to
24        electronically file documents with the Court through an approved EFSP.
25     c) Public Notice
26        The Court has issued a Public Notice with effective dates the Court required
                                                                                          parties to
27        electronically file documents through one or more approved EFSPs. Public
                                                                                         Notices containing
28        effective dates and the list of EFSPs are available on the Court's website,
                                                                                      at www.lacourt.ore.
                                                           2_
                    FIRST AMENbEb GENERAL ORDER RE MANDAI'ORY
                                                                       ELECTRONIC FiLING FOR CIVIL
     Case 2:20-cv-11670-PSG-AS Document 2 Filed 12/28/20 Page 39 of 69 Page ID #:50
                                                                                                  2019-GEN-01a-00



 1        d) Documents in Related Cases
 2            Documents in related cases must be electronically filed in the eFiling portal for that case type if
 3            electronic filing has been implemented in that case type, regardless of whether the case has
 4            been related to a Civil case.
 5 11 3) EXEMPT LITIGANTS
 6        a) Pursuant to California Rules of Court, rule 2.253(b)(2), self-represented
                                                                                       litigants are exempt
 7            from mandatory electronic filing requirements.
 8        b) Pursuant to Code of Civil Procedure section 1010.6, subdivision (d)(3)
                                                                                    and     California Rules of
 9            Court, rule 2.253(b)(4), any party may make application to the Court requesting
                                                                                                 to be excused
10            from filing documents electronically and be pemutted to file documents by
                                                                                            conventional
11            means if the party shows undue hardship or significant prejudice.
12     4) EXEMPT FILINGS
13        a) The following documents shall not be filed electronically:
14            i)    Peremptory Challenges or Challenges for Cause of a Judicial Officer pursuant to Code
                                                                                                               of
15                  Civil Procedure sections 170.6 or 170.3;
16'           ii)   Bonds/Undertaking documents;
17 I          iii) Trial and Evidentiary Hearing Exhibits
18            iv)   Any ex parte application that is filed concurrently with a new complaint including
                                                                                                           those
19                  that will be handled by a Writs and Receivers department in the Mosk
                                                                                            courthouse; and
20            v)    Documents submitted conditionally under seal. The actual motion or application
                                                                                                   shall be
21                  electronically filed. A courtesy copy of the electronicalIy filed motion or application
                                                                                                            to
22                  subnut documents conditionally under seal must be provided with the
                                                                                        documents
23                  submitted conditionally under seal.
24        b) Lodgments
25            Documents attached to a Notice of Lodgment shall be lodged and/or served
                                                                                            conventionally in
26     paper form. The actual document entitled, "Notice of Lodgment,"
                                                                       shall be filed    electronically.
27
28 1 //


                        SIRST AMENDED GENERAL ORDER RE MANDATORY ELECIRONIC
                                                                                     FILING FOR C1V1L
 Case 2:20-cv-11670-PSG-AS Document 2 Filed 12/28/20 Page 40 of 69 Page ID #:51
                                                                                               2o19•GEN•014-00



 1   5) EI.ECTRONIC FILING SYSTBM WORKING PROCEDURES

 2     EIectronic filing service providers must obtain and rnanage registration information
                                                                                              for persons
 3     and entities electronicatly filing with the court.
 4   b) TECHNICAL REQUIREMENTS
 5     a) Electronic documents must be electronically filed in PDF, text searchable
                                                                                    format when
 6         technologically feasible without impairment of the document's image.
 7     b) The table of contents for any filing must be bookmarked.
 8     c) Electronic documents, including but not linuted to, dec{arations,
                                                                            proofs of service,   and
 g        exhibits, must be bookmarked within the document pursuant to California RuIes of
                                                                                                  Court, rule
10        3.1110(f)(4). Electronic bookmarks must include links to the first page of each bookmarked
11        item (e.g. exhibits, declarations, deposition excerpts) and with bookmark titles
                                                                                             that identify the
12        bookedmarked item and briefly describe the iteru.
13     d) Attachments to primary documents must be bookmarked. Examples
                                                                        include, but are not
14        limited to, the following:
15        i)    Depositions;
16        ii)   Declarations;
17        iii) Exhibits (including exhibits to declarations);
18        iv)   Transcripts (including excerpts within transcripts);
19        v)    Points and Authorities;
20        vi)   Citations; and
21        vii) Supporting Briefs.
22     e) Use of hyperlinks within documents (including attachments and
                                                                        exhibits)      is strongly
23        encouraged.
24     f) Accompanying Documents
25        Each document acompanying a single pleading must ba electronically filed
                                                                                        as a separate
26        digital PDF document.
27     g) Multiple Documents
28        Multiple documents relating to one case can be uploaded in one envelope
                                                                                       transaction.
                                       —                    4
                     FIRS'i' AMENDED GENERAL ORDER RE MANDATORY
                                                                       ELECPRONIC FILING FOR C[VIL
 Case 2:20-cv-11670-PSG-AS Document 2 Filed 12/28/20 Page 41 of 69 Page ID #:52
                                                                                               2019-GEN-014-00



1      h) Writs and Abstracts
2         Writs and Abstracts must be submitted as a separate electronic envelope.
3      i) Sealed Documents
4         If and when a judicial officer orders documents to be filed under seal, those documents must be
5         filed electronically (unless exempted under paragraph 4); the burden of accurately designating
6         the documents as sealed at the time of electronic submission is the submitting party's
7         responsibility.
8      j) Redaction
9         Pursuant to California Rules of Court, rule 1.201, it is the submitting party's responsibility to
10        redact confidential information (such as using initials for naarles of minors, using the last four
11        digits of a social security number, and using the year for date of birth) so that the information
12        shall not be publicly displayed.
13 17) ELECTRONIC FILING SCHEDULB
14     a) 1Filed Date
15        i) Any doctunent received electronically by the court between 12:00 am and 11:59:59 pm
16            shall be deemed to have been effectively filed on that court day if accepted for filing. Any
17            document received electronically on a non-court day, is deemed to have been effectively
18            filed on the next court day if accepted. (California Rules of Court, rule 2.253(b)(6); Code
19            Civ. Proc. § 1010.6(b)(3).)
20        ii) Notwithstanding any other provision of this order, if a digital document is not filed in due
21            course because of: (1) an interruption in service; (2) a transmission error that is not the
22            fault of the transmitter, or (3) a processing failure that occurs after receipt, the Court may
23            order, either on its own motion or by noticed motion subnutted with a declaration for Court
24            consideration, that the document be deemed fled and/or that the document's ffiing date
25            conform to the attempted transmission date.
26   8) EX PARTE APPLICATIONS
27     a) Ex parte applications and all documents in support thereof must be electronically filed later
                                                                                                 no
28        than 10:00 a.m. the court day before the ex parte hearing.

                                                           5
                      FIRST AMENDED GENERAt. ORDER RE MANDATORY ELECTRONIC FILING FOR CIVIL -
 Case 2:20-cv-11670-PSG-AS Document 2 Filed 12/28/20 Page 42 of 69 Page ID #:53
                                                                                             Z019-GEN-014-00



1      b) Any written opposition to an ex parte application must be electronically filed by 8:30 a.m. the
2         day of the ex parte hearing. A printed courtesy copy of any opposition to an ex parte
3         application must be provided to the court the day of the ex parte hearing.
4    9) PRINTED COURTESY COPIES

5      a) For any filing electronically filed two or fewer days before the hearing, a courtesy copy must
6         be delivered to the courtroom by 4:30 p.m. the same business day the document is efiled. If
7         the eFling is submitted after 4:30 p.m., the courtesy copy must be delivered to the courtroom
8         by 10:00 a.m. the next business day.
9      b) Regardless of the time of electronic filing, a printed courtesy copy (along with proof of
10        electronic submission) is required for the following documents:
11         i)   Any printed document required pursuant to a Standing or General Order;
12        ii)   Pleadings and motions (including attachments such as declarations and exhibits) of 26
13              pages or more;
14       iii)   Pleadings and motions that include points and authorities;
15       iv)    Demurrers;
16        v)    Anti-SLAPP filings, pursuant to Code of Civil Procedure section 425.16;
17        vi)   Motions for Summary )udgment/Adjudication; and
18       vii)   Motions to Compel Further Discovery.
19     c) Nothing in this General Order precludes a 3udicial Officer from requesting a courtesy copy
                                                                                                     of
20        additional documents. Courtroom specific courtesy copy guidelines can be found at
21        www.lacourt.orQ on the Civil webpage under "Courtroom Information."
22   0) WAIVER OF FEES AND COSTS FOR ELECTRONICALLY FILED DOCUMENTS
23     a) Fees and costs associated with electronic filing must be waived for any litigant
                                                                                           who   has
24        received a fee waiver. (California Rules of Court, rules 2.253(b)(), 2.258(b), Code Civ.
                                                                                                   Proc. §
25        1010.6(d)(2).)
26     b) Fee waiver applications for waiver of coutt fees and costs pursuant to Code of
                                                                                         Civil   Procedure
27        section 1010.6, subdivision (b)(6), and Califomia Rules of Court, rule 2.252(f), may be
28         electronically filed in any authorized action or proceeding.

                     FIRST AMENDED GENERAL ORDER RE MANDATORY ELECIYtON1C FILING FOR
                                                                                     CIVIL
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                                                                                               2019-GEN-014-0D


 1 11) SIGNATURES ON ELECTRONIC FILING

 2      For purposes of this General Order, all electronic filings must be in compliance with California
 3      Rules of Court, rule 2.257. This General tirder applies to documents filed within the Civil
 4      Division of the Los Angeies County Superior Court.
 5

 6          This First Amended General Order supersedes any previous order related to electronic filing,
 7   and is effective immediately, and is to remain in effect until otherwise ordered by the Civil
 8   Supervising Judge and/or Presiding Judge.
                                                                                                 ~
 9

10   DATED: May 3, 2019                                   x'1f,'q    -/        c
11                                                        KEVIN C. BRAZILE
                                                          Presiding Judge
12
13
14
15
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17
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                      FIRST AMENDED GENERAL ORDFR RE MANDA'ibRY
                                                                ELECTRONIC FILING FOR CIViL
Case 2:20-cv-11670-PSG-AS Document 2 Filed 12/28/20 Page 44 of 69 Page ID #:55




                                      elOi..UNTARIf EppICeENT L6T04GATION STIPULATIO►NS

           ~d
                                         The Early ®rganizatlonal Meating S@ipulation, Discovery
                                      R®soluUon Stipulation, and Rr9otions in Limine SUputatfon are
         BuAa~to~Court o0Ca31tqendd
         eoaMy of Lwt Me.lma          volaantary s4ipuiations entered lnto by the parties. The parUes
                                      may enter Into one, two, or all three of the stipulaUons;
                                      however, they may not alQer th® stipuSaUons as written,
                                      because Ihe Court wahts to ensure unifotmity of appilaaUon.
         4ocel~yO~ae Wuei4y
         ~cAtsiocleliore
        s~uon s.~tton                 These sUpulaffons are meant to encourage cooperaUon
                                      between the parUes and to assist In resolving Issues in a
        ~~ ~`iicowftona
        ftqftrWnaLaars9ceoR           neanner that promotes econom(c case resolutIon and judioial
                                      efficiency.
                   • , l~Llllidt
                                         7'he foliowing organiz®dons endorse the goa/ of
        Ao~oal~ticn qP L. Are®el®q
                                      promoding a#1clOncy irs litigat6on and ask that counsel
                                      conspder using Qhess sPipulations as a vofuntaPy wa,y
                                                                                                  to
                                      RromOie communicaPlons and procedures arnong cotansel
                                      and with the court fo falrly nesoive lssues in the6r cases.

                                      *Los Angeles Coaenty 13ar Associatlon Li4iga@6on Section*
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Case 2:20-cv-11670-PSG-AS Document 2 Filed 12/28/20 Page 45 of 69 Page ID #:56




      T@eis stigruilation Is 6nQe»dsd 4o providm a f•asQ and anformat
      Ghrraugbe Ilienited paperworit and an tnfonnal conference resolaation of ti{iscovery issues
      resatuliiora m# the issaees.                                    with ~h® Court to a'sd tn the

      The parties agToe tha8:

      9- Praor to the discovery csrt-off in this action. no discovery
         the rnoving party farsl rnakes a writlen request for an      molion sha0 be fsled or heard untess
         to ihe flerms of lhis stipulatlon.                       informa) Discovery Conference pursuant

     2. At lhe lnformal Discovery Conference (he CoUrt uviil
        and determ3ne whelher it can be resoleed informally.consider Ihe dispute presented by parties
        party from making a record at the condusion of an Nothing set forlh hereln wilt preclude a
        oratly or In writing.
                                                              inforrnal Discovery Conference, elther

     3. Foltowring a reasonable and good faith attemgri at an
        presented, e party enay request an inforanal Discoveryinfornnal resoluQon ef each Issue to be
        procedures:                                             Conference pursuanl to the following

            a. The party requesting the Inforvna9 Ciscovery Conference
                                                                       wiil:
                     File a Request for lnformai P3iscovery Conference
                                                                       wlth the cierk's office on the
                     approved . form (copy altached) and de!lver a
                                                                   courtesy, conformed cnpy to ihe
                     assigned departrnent;

               bi.   tnclude a brief summary oi the dispute and speciFy the reilef
                                                                                     requested; and
              ilf.   Serve lhe opposing party pursuant lo any authorized
                                                                             or agreed anglhod of service
                     that ettsures tttat the opposing party receivas the
                                                                          Request t'or lnformaP Discovery
                     Conferennce aao later than the next court day 6oNowing the
                                                                                fi9ing.
            b. Rny,qnswer to a Request for Infonnal Discovery
                                                              Conference       musl:
               I.    AIso be gted on the approved forrn (copy attached);

              H.     lnclude a brtef surnmary of why the requested rellef
                                                                          shouid   be denied;
     LACW a38 (.m)                  —
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     F p    ge
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                 115.   8e tiled wlthin two (2) court days of receipt of the Request; and
                 iv.    Be served on the opposing party pursuant to any authorized or agreed upon
                        method of service that eeosures that the opposing party receives Ihe Answer no
                        later than the next court day following the fiting.
           c, No other pleadings, including but not Nmlted to exhibits. declaraUons, or
              be accepled.                                                              attachments, wiill

           d. If the Court has not granted or denied the Request for Infonnal t]iscovery
                                                                                              Conference
              withln ten (10) days fottowing the filing of lhe Request, then It shall be deemed
              been denied, lf the Court acis on the Request, the parties wil) be notified           to have
                                                                                              whether the
              Request for IngorrrQai Discovery Conference has been granted or denied and,
              the dale and time of thra Inforrnal Discovery Conference. which must              If granted,
                                                                                     be within twenty (20)
              days of ihe fiUng of the Request for (nfoneial Discovery Conference.

          e. if 4he conference ts not held within twenty (20) days of the
                                                                            filing of the Request for
             Infonnal Discoveey Conference, unless extended by agreement of
             Court, then the Request for the lnfoernal Discovery Conference shall the parlies and lhe
             been denied at that tirotie.
                                                                                   be deemed to have

     A. If (a) the Court has dertied a conierence or (b) one of
                                                                   the time deadlines above has expired
        tA+ithout the Court having acted or (c) the tnforrnal ®iscovery
        rewlving the dispute, then a party nray file a discovery motlonConference   is concluded without
                                                                          to address unresolved Issues.
     S. T'he parties h®reby further agree that the time for rnatdng a
        discovery rnouon Is tolled frorn the date of tiiing of the         nootion to compet or other
                                                                       Request
        Conference untit (a) the request is denied or deemed denied or (b) for inforanal Ciscovery
        filing of the Request for lnforIInat Discovery Conference,            twenty (20) days affer the
                                                                   whichever ts earlier. unless extended
        by Crder of the Court.

          It is the understanding and Intent of the pariies that lhis
                                                                      stipulation shall, for each discovery
          dlspule to which it appiies, constitule a writing rnernorializing
          the propounding dor demanding or requestioag) party and the a °speafic later dale to which
                                                                          responding party have agreed in
          wriiing,' vrithin the r¢eeaning of Code Civil Procedure sections
          2033,290(c).                                                      2t)30.300(c), 2039.320(c), and

     6. 6dothing herein vriit preclude any party from applying ex
                                                                  Aarfe for appropriate relief. Including
        an order shortening tinne for a motion to be heard
                                                           conceming discovery.
     7. Any party rnay tenninate this stiputatlon by giving
                                                              twenly-one (29 ) days notice of Intent to
        terminate the stipulation.

     B. References to "days" mean r.afendar days, untess
                                                              olhernaise noted. If the date for perionning
        any act pursuant to this stipulation falis on a Saturday,
                                                                  Sunday
        for periorming thal act shall tse extended to the next Court day. or Court holiday, then the lim



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     '8"his stDpaaYa¢lon fs taatereded ¢o encourage cdoperatlon
     the YitOgafjon and to assist the partlee Ira effict®nt      among the partges at an sarly stage in
                                                            case resotuaion.
     Yhe parties agree that:
     9. The parlies cornenit to conduct an
                                               lnitfal conference (in-person or vta teteconference or via
        vldeocon0erence) bvithin '05 days froon the date this stipula4lon
        whefher lhem can be agreerraenP an Ure foOowing:                  Is signed, to oflscuss and consider

        a. Are mottons to chattenge tlze pleadings
                                                           necessaPy?
           amendrnent as mf right, mr if the Court wouid allow If the dssue can be resolved by
                                                                       feave to amend; could an annended
           cornptatnt resotve most or alt of the Issues a demurrer erttght
           agrae to vvork 9Faough pleading issues so ihat a                  otherwise r•aise? if so, lhe parties
           resaiva. Is lhe Issue that the defendant sestcs to demurr+er   need oniy raise issues they cannal
                                                               ratse ar9oeraable lo resotuldon an demurrer. ar
           vyould some other lype of motlon be preferable?
                                                                  CmuOd 8 volunlary targeted exchange of
           documents or lnformatlon by any parly cure an uncertatnty
                                                                          in the pleadings?
        b. initfal mutual exchanges of docum®nts at the
           employrnent case, the empbyment reaords, personnel'core" of the litigatiott. (lfor example, in an
           conduc8 In questton coutd be considered "core.'               tite and documents relatOng to the
                                                                 In  a  personat
           poltce report, medtcat racords, arud repair or maintenance recor~fs     injury case, an Incident or
            core.p):                                                                     coutd be consfdered

        c. Etchange of names and contact tnformatlon of
                                                        ovitnesses;
        d. Any Insu►ance agreenyent that may be avaitable
             lndenenify or reimburs® for payments vnade to sat3sfyto salisfy part or atl of a judgment, or to
                                                                     a judgrnent;
        e. t;uch®nge of any other +nformation that
                                                      mtght be heipfut to facititate undetstanding, handHrrg,
             or reso6ulion of the case In a manner Qhat preserves
                                                                    ob*tions dr prtvtteges by agreement;
        f. Controlling Issues of iaw+ ihat, If resolved earty, wi10
            phases of the case. Also, wP►en and how such issuespropnote egiciency and economy In other
                                                                      can be presented to lhe Court;
        9. WhaGher or uvhera the case shouid be scheduted vvith a
            court ruting an legal issues Is reasonably required to make  setliement officer. vuhat discovery or
            and whether the parltes rrAsh to use a silUng judge or a setlJement discussions rneaningfut,
                                                                          private mediator or other opttans as
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                disaussed tn the mAttemative Dispute Resotution (ADR) Intorrreation Package' served with the
                cornplaint;
             h. ComputatEon of damageg, including docurtnents, nat prhrlteged or proler.ted
                                                                                            from discfosure, on
                whlch such Comput®lion Is based;
             1. 9fllhether the case ts suitabfe for the Ecpedited Jury Triai procedures
                                                                                        (see InfortnaUon at
                www-lacourL2acr under "CiviP and then under'Genera! Informallon7.
      2.        The time ror a defending party to respond to a complaint or cross-r,ompiaint
                                                                                                       w11f be extended
                to--                           for the compfaint, and                                     for the cross-
                           ( ~SERT DA4E)                                         !~ ~      ~
                comptaint, vvhich is comprised of Ihe 30 days to respond under GovePnment
                and tha 30 days parmitted by Code of Civil Procedure section                          Code § 881318(b),
                teen found by lhe Civil Suparvising Judge due to the Case management     1054(a),   good   cause havIng
                this Stipulation. A copy of !he C-+eneral Order can be found at                    benetaats  provided by
                click on tlGer9eral Jnlfarmetlon°, then ctick an `Voluntary t fJTclent                      conder "C1v1P,
                                                                                       1.tNgatlan StlJtulallons'.
     3.         The partfes witl prepare ajoint n:port litted 'Joint Status Report Pursuant
                and Eaeiy Organizatlonat NieeQing StffpulaGon, and if desired,                     to inilial Conference
                                                                                     a proposed order sumrnarirJng
                results of tlreir nJeet and aonfer and advising the Court of any wray
                                                                                             it
                efficient conduct or resoiution or the case. The parties shBR attach may assist Ihe partles'
                the Case IWanagernent Conrerence statement, and file                        ttie Joint Stalus Report to
                                                                                  the documents when the CMC
                siateanent is due.

     4.         References lo'days' rnean e,alendar days, uN    rdess mtherwise noted. If the date for performing
                any act twrsuant to this stiputation fa!!s on a Seturday, Sunday
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                for perfarming Iltat act shati be extended to the next Court day Court holiday, then ihe time
     The foltoueing par9bas stiplatate:
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     Date;                                                                         (ATTURNEY FOR Pil11tldT7FF)

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Case 2:20-cv-11670-PSG-AS Document 2 Filed 12/28/20 Page 50 of 69 Page ID #:61




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                    (putsuant to th® tT)scave ResotutJon St! ufaflon of the partles)

                      ❑         Reques9 fmr InfoaYnai Qiscovery Conference
                  [~     Answer tfl Request for lnformai Discovery Conferenr.e
            2. Deadiin2 for Cotart to decide on Request:
               " a0av*3t)                                                   {M-ert dat® ta ca)caftr days (aowwtng            rft or
        3. Ceadline fdr Court to hold Bnfomaaf t3iscovery Conference:
               dOYS kQmviag fc1kg or the Raqussq,                                                           im,sed date 2o,~rwtdn,
            4. F®r aReques;g for 8nfonvaaB ®iscoveey Conforenc®, b_tIy_f1j desca)be fihe nature
               discoeecy a)iapute, bnclatdlng th® 6fact;s artd tegat       j                              of @he
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               Requast foP 6rafaQaveat Discoveey Conference, briePtrr
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               4he requested d8scoveay, dnc@aadbng ftfee facts aa9d iegal
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        wS~O~t~ie ~ l~ t              (pursuant to the t?iscovery Resolution Stlpuiaiion of the parties)
Case 2:20-cv-11670-PSG-AS Document 2 Filed 12/28/20 Page 51 of 69 Page ID #:62




      Yhls stipuDatiora is' Iratanded to proviatie
                                                    fast and
      ussues throtogh ctaDagent ®fforts to atetine and discussinU`oQmal resolution of ewidentiary
                                                                such issues aaatd limit paperwork.

      '9'he parties agree that:
      'f. A4 least        days before the rinat slatus conference. each
          pariies Qth a list containing a one paeagraph exptanalion party wri(i provide all other
          tisnine. >~ach ane paragraph ettplanation rnust idend(y Qae of each proposed rnotion in
          moUon in Umine and the grounds for the proposed moUon. substance of a single proposed
      Z. The partfes lhereafter will meet and
                                                  confer, either in person or via teieconPerence or
          videoconference, conceming afl proposed roioUons in Iirnlne.
          parties vuitl                                                  In that meet and confer, th®
                           deterniine:
          a. UVheBher the partaes can slipulate to any o€ the proposed
             sUpulate, they rnay fale a sl'eputation and proposed orcfer      rnotions. If the paei3es so
                                                                          with the Court.
          b. Whether any of the proposed nyotians can be briefed
             short Joint statenaent o? lssues. For each motlon uvhdchand subn7llled by means of a
             Joint statement of issues, a short jo€nt statement of Issuescan be addressed by a short
             1® days prior to the final status conference. Each side's       must be filed wbth the Court
             statement of ames may not excsed thnre pages. The partBes         porifon of the short Joint
             agree on a date aeid manner for exchanging the                       wif6 nieet and confer to
             shorQ,oint statentent of issues and the process for   par4fes'   respeclive   portions of the
                                                                     fiiing the  short  Joint statement of
             issues.
     3. At! profaased nrootions In iinaine that are not
                                                        either
        a short jolnt statentertt of dssues wit@ be briefed the subject of a stipulation or briefed via
                                                            and liled In accordance with the CaMornia
        Ruies of court and the t.os Angeles Superior
                                                           Court Rutes.


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                    Superior Court of California, County of Los Angeles



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~l HE,PLAINTIFF MUST SERVE THIS`A► C
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What is ADR?
ADR helps people find solutions to their legal disputes without
                                                                going to trial. The main types of ADR are negotiation,
mediation, arbitration, and settlement conferences. When
                                                           ADR is done by phone, videoconference or computer, it may
be called Oniine Dispute Resolution (ODR). These
                                                 alternatives to litigation and trial are described below.

Advantages of ADR
   •     Saves Time: ADR is faster than going to trial.
   •     Saves Money: Parties can save on court costs, attorney's
                                                                  fees, and witness fees.
   •     Keeps Control (with the parties): Parties choose theirADR
                                                                    process and provider for voluntary ADR.
   •     Reduces Stress/Protects Privacy: ADR is done outside
                                                                the courtroom, in private offices, by phone or online.

Disadvantaees of ADR
   •     Costs: If the parties do not resolve their dispute, they
                                                                  may have to pay for ADR and litigation and trial.
   •     iVo Public Trial: ADR does not provide a public trial or a
                                                                    decision by a judge or jury.

Main Tvpes of ADR•

   1. Negotiation: Parties often talk with each other in person,
                                                                 or by phone or oniine about resolving their case with a
         settiement agreement instead of a trial. If the parties have
                                                                      lawyers, they will negotiate for their clients.

   2. Mediation: In mediation, a neutral mediator listens to
                                                             each person's concerns, helps them evaluate the
      strengths and weaknesses of their case, and works with
                                                              them to try to create a settlement agreement that is
      acceptable to all. Mediators do not decide the outcome.
                                                                Parties may go to trial if they decide not to settle.

                 Mediation may be appropriate when the parties
                   •    want to work out a solution but need help from a neutral
                                                                                   person.
                   •    have communication problems orstrong emotions that
                                                                                 interfere with resolution.
                 Mediation may not be appropriate when the parties
                   •    want a pubiic trial and want a judge or juryto decide the
                                                                                  outcome.
                     •   lack equal bargaining power or have a history of physical/emotional
                                                                                             abuse.


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   For Mandatory Use                                                                                                     1
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                                                           r How to arrange.mediatiori in Las Angeles County

      7"i        ation for civil cases is-voluntary and parties may
                                                                    select any mediator they wish. Options include
                                                              ,                                              ,
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                                                                 List '
                          If all parties a~ree to hied(ation they may<c,ontact these
                                                                                     organizations toi_requesY a°Resource_List                                           Y'
                          Mediation" for medration at reducecd.cost or no cost (for
                                ..~;.                                                selected cases):
                                                                                  ._
                          •   ADR,Services, lnc Case_Manager' "atric~a                            adrservrcescom;(310) 201-oolo (Ext~'",~"~1) -'
                                       ;5enror,"Cese=Manager-'mbindei`@iam'sadr e~~~n (3~0),(
                                                                                            309 6,204 _      ~"~~~'       -
                          •   Mediation Center. of Los Angeles (MCLA) Program Managel
                                                                                         mfo@mediatienLA;ore (833)_476 9145
  S                             o Only MCLA provides mediatian.in pe~rso~t, by
                                                                                 phon~`:and:by videoconfei`ence.                                                     .



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                      .Z              cannot accept every;case artd they`may decline cases
  ~                                                                                        at their discretion
                          Visit rvww lacourt or.~/ADR!Res:List fof impo;rtant
                                              .:       >            . , „ ry ~rnformation a"rid'FAqs'.before contacting`them.                                                ~
                          f!OTE. Tfirs program tloes'~not-ac'cept fa y~law,                                                                            _             .       ~
                                                                              probate `'or sma'll claim"s cases '
                 b.    Los Angeles County Dispute Resolution Programs
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                                                                                            Spring Street Courthouse, lim_ ited civil:
                                        Free .day of-;trial media"tio.ns at the~~col<rthtouse No
                                                                                                 ap~pointinent need.ed.        ~
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                                      o       F.           free or lo'w costiOnlrrle Dispute Resofutl.on (OD:R) by.
                                                                                                                    phone or computer befor.e the ~
  i                                           day of°trial v(sit                     n.               ~$;                                                  ..            "~
                                              http //www.lacourt or~/dlyis'ion/srrtallclarmslndf/OnliriebrsputeResolrit~onFlver
                                              EngSpan pdf

                c.        Mediators and ADR artd Bar organizatipns th:at prefvt~e
                                                                                  rrtediatron:may be found on the internet.                                              ~
  ~                   ~        4.:        '        ,_,/'       i       ;t        }        F
                                                                                              .   .   ..
                                                                                                            •e~~c'.
                                                                                                                      ..,.   ~   -..   .   '   .   ,~°
                                                                                                                                                      :a
                                                                                                                                                                -.       .




        3. Arbitration: Arbitration is less formal than
                                                        trial, but like trial, the parties present evidence and
           person who decides the outcome. In "binding"                                                           arguments to the
                                                              arbitration, the arbitrator's decision is final; there is no right
           trial. In "nonbinding" arbitration, any party can                                                                     to
                                                              request a trial afterthe arbitrator's decision. For more
           information about arbitration, visit
                                                 http://www.:ourts.ca-gov/programs-adr.htm

        4.   Mandatory Settlement Conferences (MSC): MSCs
                                                                   are ordered by the Court and are often held close to
             date or on the day of trial. 7he parties and their                                                         the trial
                                                                attorneys meet with a judge or settiement officer who
             make a decision but assists the parties in                                                                 does  not
                                                        evaluating the strengths and weaknesses of the case
             a settlement. For information about the                                                          and in negotiating
                                                        Court's MSC programs for civil cases, visit
             http://www.lacourt.org/division/eivii/ClOO47.aspx


Los Angeles Superior Court ADR website:
                                         http://www.lacourt.org/division/civil/CI0109.aspx
For general information and videos about
                                         ADR, visit http://www.courts.ca . gov/programs-adr
                                                                                            htm



LASC CIV 271 Rev. 01/20
For Mandatory Use



                                                                                                                                                                     2
Case 2:20-cv-11670-PSG-AS Document 2 Filed 12/28/20 Page 55 of 69 Page ID #:66




                  EXHIBIT D
        Case 2:20-cv-11670-PSG-AS Document 2 Filed 12/28/20 Page 56 of 69 Page ID #:67

                SUPERIOR COURT OF CALIFORNIA
 !          _..•   COUNTY.OF
                         ---
                             LOS ANGELES                                                                            FILED
     COURTHOUSE ADDRESS~'    `                         -
 Stanley Mosk Courthouse                                                                                     ~allt4ya'f LosAat~ies
 111 North- Hill Street, Los-Angeles, CA 90012                                                                  0$/d3020
  PLAINTIFF:
 Meesa Bradley                                                                                                               u.. 1i~e~c!Cns
                                                                                                    SEtane ~ C~Sls.~~wl~i~e 0t~

     DEFENDANT:
  Make-Up Art Cosmetics, Inc.
               NOTICE OF CASE MANAGEMENT CONFERENCE
                                                                                                        20STCV27919
       TH
You are ordered to serve this notice of hearing on all parties/attorneys of record forthwith, and meet and confer,with all
parties/attorneys of record about the matters to be discussed no later than 30 days before the Case Management Conference.
Your Case Management Conference has been scheduled at the courthouse address shown above on:

                                    , . Date:                     Time:                        Dept.:
                                                12/23/2020 ....     _. . 8:30..AM _ -. . ,.         -._30

NOTICE TO DEFENDANT: THE SETTING OF THE CASE MANAGEMENT CONFERENCE DOES NOT EXEMPT THE
                       DEFENDANT FROM FILING A RESPONSIVE PLEADING AS REQUIRED BY LAVIT.
Pursuant to Califomia Rules of Court, rules 3.720-3.730, a completed Case Management Statement (Judicial Council form #
CM-110) must be filed at least 15 calendar days prior to the Case Management Conference. The Case Management. Statement
may be tiied jointiy by all parties/attorneys of record or individually by each party/attomey of record. You must be familiar with the
case and be fully prepared to participate effectivefy in the Case Management Conference.

At the Case Management Conference, the Court may make pretrial orders including the following, but not limited to, an order
establishing a discovery schedule; an order referring the case to Altemative Dispute Resolution (ADR); an order reclassifying the
case: an order setting subsequent conference and the trial date; or other orders to achieve the goals of the Trial Court Delay
Reduction Act (Gov. Code, § 68600 et seq.)

Notice is hereby given that if you do not Ole the Case Management Stateme t r appear and effectively participate at the Case
Management Conference, the Court may impose sanctions, pursuant,                                  ocal Rule 3.37, Code of. ivil Procedure
sections 177.5, 575.2, 583.150, 583.360 and 583.410, Government Cod _                              8, bdivision O, and     if rnia Rules of
Court, rule 2.2 et seq,                                             r                            ~   ~
                                                                                                      ~~~        I~: -
                                                                                       ,
                                                                               µ:          ~
Dated:... 08/0312020- .                                                                                 13arhaLra M_ R cheneI TU ge
                                                                                                         Judicial Officer

                                                           CERTIFICATE OF SERVICE

I, the below named Executive Officer/Clerk of the above-entitled court, do.hereby certify that I am not a party to the
                                                                                                                       cause
hereln, and that on this date I served the Notice of Case Management Conference upon each party or counsel named below:

       by depositing in the United States mail at the courthouse in . Los_Angeles-
~                                                                                             , California, one copy of the original
       filed herein in a separate sealed enveiope to each address as shown below with the postage thereon fully prepaid.

❑ by personally giving the party notice upon filing of the complaint.
       Joseph S Farzam, Esq.
       11766 Wilshire Blvd.
       Suite 280
       Los Angeles, CA 90025                                                  Sherri R. Carter, Executive Officer / Clerk of Court


Dated :08L03/2020                                                                                           gy I B, Byers
                                                                                                                        -       —_                _.
                                                                                                                                      -Clerk—~r.:=
LACIV 132 (Rev. 07/13)
                                                                                                                  Cal. Rules of Court, rules 3.720,3.730
LASC Approved 10-03                        NOTICE OF                                                             LASC Local Rules, Chapter Three
For Optional Use                 CASE MANAGEMENT CONFERENCE
Case 2:20-cv-11670-PSG-AS Document 2 Filed 12/28/20 Page 57 of 69 Page ID #:68




                  EXHIBIT E
      Case 2:20-cv-11670-PSG-AS Document 2 Filed 12/28/20 Page 58 of 69 Page ID #:69
            SUPERIOR COURT OF CALIFORNIA                                                Reserved foY Clerk's Flle Slamp


               COUNTY OF LOS ANGELES
 COURTHOUSE ADDRESS:
                                                                                                     FILED
Stanley Mosk Courthouse                                                                      3uparior ~auA ol ~:a~forma
111 North Hill Street, Los Angeles, CA 90012                                                  CountyafLosAnggies            ~
                                                                                                  10121M020                 I
  LAINTI F(S):                                                                     5httnR C*Mer,Ext,puSveO!_`oa! Qar?cotCq r

Meesa Bradley                                                                          $Y.
                                                                                                      S. 8yets       UePLty ;
                                                                                                                 ~
 DEFENDANT(S):
                               ..           _.
Make-Up Art Cosmetics, Inc.

       NOTICE RE: CONTINUANCE OF HEARING AND ORDER
                                                                                 '20STCV27919

TO THE PLAINTIFF(S) AND ATTORNEY(S) OF RECORD AND / OR PARTIES IN PROPRIA PERSONA:


You are hereby notified that the._Case Management Conference
                                                                                                      _
previousiy set for hearing on    /23/2020         In Department 30                                  has been reset for
hearing in the same department on„01/08/2021                      at 10:00 AM      ,



                                                    ORDER

You are ordered to give notice by mail forthwith of such fact to all parties and to file proof of service of such
notice forthwith in the assigned department, located at ,Stanley Mosk Courthouse
                                                                                 - -                 -
111 North Hill Street, Los Angeles, CA 90012




Dated: 10/21/2020                                             ~      Barbara M. Scheper f Judge --- _
                                                                             Judicial Officer




                           NOTICE RE: CONTINUANCE OF HEARING AND ORDER
LAclv xxx
LASC Approved 00-00
Case 2:20-cv-11670-PSG-AS Document 2 Filed 12/28/20 Page 59 of 69 Page ID #:70




                   EXHIBIT F
                     Case 2:20-cv-11670-PSG-AS Document 2 Filed 12/28/20 Page 60 of 69 Page ID #:71
Electronically FILED by Superior Court of California, County of Los Angeles on 11/30/2020 07:12 PM Sherri R. Carter, Executive Officer/Clerk of Court, by W. Moore,Deputy Clerk
                                                                                                                                                                         POS-010
              ATTORNl;Y OR PARTY WIDiQUT ATTORNEY (Name, State Bar number, and address):                                                       FOR COURT USE ONLY
              Josepn Farzam SBN 210817
            -jQSEPH FARZAM LAW FIRM
              11766 Wilshire Blvd., Suite 280
              Los Angeles, CA 90025
                           TELEPHONE NO.:    (310)226-6890               FAX NO. (Optional):   (310)226-6891
              E-MAIL ADDRESS (Optional):
                   ATTORNEY FOR (Nama):       MEESA BRADLEY
               SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
                      STREET ADDRESS:      111 NORTH HILL STREET
                     MAILING ADDRESS:      SAME
                    CITY AND ZIP CODE:      LOS ANGELES 90012
                          BRANCH NAME:     CENTRAL DISTRICT
                    PLAINTIFF/PETITIONER: MEESA BRADLEY, an individual                                                        CASE NUMBER:        20STCV27919

             DEFENDANT/RESPONDENT: Make-Up Art Cosmetics, Inc., a Delaware Corporation, et al.

                                                                                                                              Ref. No. or FIie No.:   Dept. 30
                                                PROOF OF SERVICE OF SUMMONS

                                                             (Separate proof of service is required for each party served.)
             1. At the time of service I was at least 18 years of age and not a party to this action.
             2. I served copies of:
                    a.     0         summons
                    b.     0         complaint
                     c.    0         Alternative Dispute Resolution (ADR) package
                     d.    0         Civil Case Cover Sheet (served in complex cases only)
                     e.    D         cross-complaint
                     f.     [!'.)    other (specify documents): NTC(s) Of Case Assign., Mgt. Confer .,Cont. Of Hearing & Order, Exh 1, Civil Case Cover Adden,

             3.      a. Party served (specify name of party as shown an documents served):                     MAKE-UP ART COSMETICS, INC.,
                                                                                                               a Delaware Corporation
                     b. ~           Person (other than the party in item 3a) served on behalf of an entity or as an authorized agent (and not a person
                                    under item 5b on whom substituted service was made) (specify name and relationship to the party named in item 3a):
                                    CSC Lawyers lncorp Service (Rec'd By: NICOLE STAUSS, Intake Specialist
             4.      Address where the party was served: 271 O Gateway Oaks Drive, Suite 150N, Sacramento, CA 95833

             5.      I served the party (check proper box)
                     a. 0       by personal service. I personally delivered the documents listed in item 2 to the party or person authorized to
                                receive service of process for the party (1) on (date): 11/25/2020               (2) at (time): 12:18PM
                     b.   D      by substituted service. On (date):                     at (time):             I left the documents listed in item 2 with or
                                 in the presence of (name and title or relationship to person indicated In item 3):

                                     (1) □          (business) a person at least 18 years of age apparently in charge at the office or usual place of business
                                                    of the person to be served. I informed him or her of the general nature of the papers.
                                     (2)   □        (home) a competent member of the household (at least 18 years of age) at the dwelling house or usual
                                                    place of abode of the party. I informed him or her of the general nature of the papers.
                                     (3) □          (physical address unknown) a person at least 18 years of age apparently in charge at the usual mailing
                                                    address of the person to be served, other than a United States Postal Service post office box. I informed
                                                    him or her of the general nature of the papers.
                                     (4) □          I thereafter mailed (by first-class, postage prepaid) copies of the documents to the person to be served
                                                    at the place where the copies were left (Code Civ. Proc.,§ 415.20). I mailed the documents on
                                                    (date):               from (city):                           or       D
                                                                                                                         a declaration of mailing is attached.
                                     (5)   □        I attach a declaration of diligence stating actions taken first to attempt personal service.
                                                                                                                                                                               Page1 of2
                  Fam, Adopted for Mandatory Use                                                                                American LegalNet. Inc.   Code of Civil Procedure, § 417.1 O
                    Judicial CouncU of California                      PROOF OF SERVICE OF SUMMONS                              www.FonnsWorldlow.com
                  POS-010 [Rev. January 1, 2007)
       Case 2:20-cv-11670-PSG-AS Document 2 Filed 12/28/20 Page 61 of 69 Page ID #:72


       PLAINTIFF/PETITIONER:            MEESA BRADLEY, an individual                                     CASE NUMBER:   20STCV27919

DEFENDANT/RESPONDENT: Make-Up Art Cosmetics, Inc., a Delaware Corporation, et al.



5.     C.   □         by mall and acknowledgment of receipt of service. I mailed the documents listed in item 2 to the party, to the
                      address shown in item 4 , by first-class mail, postage prepaid,

                      (1) on {date):                                                (2) from (city):

                      (3)0          with two copies of the Notice and Acknowledgment of Receipt and a postage-paid return envelope addressed
                                    to me. (Attach completed Notice and Acknowledgement of Receipt.) (Code Civ. Proc.,§ 415.30.)
                      (4)   □        to an address outside California with return receipt requested. (Code Civ. Proc.,§ 415.40.)

       d.   D         by other means (specify means of service and authorizing code section):




            D         Additional page describing service is attached.

6.     The "Notice to the Person Served" (on the summons) was completed as follows:
        a.   D    as an individual defendant.
       b.    0        as the person sued under the fictitious name of (specify):
       C.    □        as occupant.
       d.    0        On behalf of (specify): MAKE-UP ART COSMETICS, INC., a Delaware Corporation
                      under the following Code of Civil Procedure section:
                                    ~   416.10 (corporation)                       D    415.95 (business organization, form unknown)
                                    D   416.20 (defunct corporation)               D    416.60 (minor)
                                    D   416.30 Goint stock company/association)    D    416.70 (ward or conservatee)
                                    D   416.40 (association or partnership)        D    4 16.90 (authorized person)
                                    D   416.50 (public entity)                     D    415.46 (occupant)
                                                                                   D     other:
7.     Person who served papers
       a. Name: JENICE ROSSNER
       b.   Address: 1171 S. Robertson Blvd., Suite 450, Los Angeles, CA 90035
       c.   Telephone number: (800)440-5738
       d.   The fee for service was: $
       e. I am:
             (1) □          not a registered California process server.
             (2) □          exempt from registration under Business and Professions Code section 22350(b).
             (3) 0          a registered California process server:
                            (i)     D     owner    D    employee    0     independent contractor.
                            (ii)    Registration No.: 1998-02
                            (iii)   County: SACRAMENTO

 8.     ~        I declare under penalty of perjury under the laws of the State of California that the foregoing is true and correct.

                 or
  9.    D        I am a California sheriff or marshal and I certify that the foregoing is true and correct.

 Date:      11/02/2020

 JENICE ROSSNER
            (NAME OF PERSON WHO SERVEO PAPERS/SHERIFF OR MARSHAL)
                                                                                   ►



 POS-010 (Rev. January 1, 2007)                           PROOF OF SERVICE OF SUMMONS                                                             Page 2 of 2
                                                                                                                                   American LegalNet. Inc.
                                                                                                                                   www.FormsWorlctJow.com
Case 2:20-cv-11670-PSG-AS Document 2 Filed 12/28/20 Page 62 of 69 Page ID #:73




                  EXHIBIT G
         Case 2:20-cv-11670-PSG-AS Document 2 Filed 12/28/20 Page 63 of 69 Page ID #:74

                                                                                                                                                       CM-110
 ATTORNEY OR PARTY WITHOUT ATTORNEY (Name, State Bernumber, and address):
 Joseph S. Farzam (SBN 210817) Stephen J. Duron (SBN: 263485)                                                              FOR COURT USE ONLY

 JOSEPH FARZAM LAW FIRM, APLC
 11766 Wilshire Blvd., Ste. 280
 Los Angeles, CA 90025

           TELEPHONE No.: (310) 226-6890                        FAX NO. (0ptloneq: (310) 226-6891
 E-MAILADDRESS (Opfionao: stephen@farzamlaw.com
                  Plalntlff, Meesa Bradley
     ATTORNEY FOR (Name):

 SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
  STREETADDRESS: 111 Hill Street
  MAILING ADDRESS:
 cITY AND zIP coDE: Los Angeles 90012
     BRANCH NAME: Stanley Mosk Courthouse
     PLAINTIFF/PETITIONER: Meesa Bradley
  DEFENDANT/RESPONDENT: Make-Up Art Cosmetics, Inc., et al.

                                 CASE MANAGEMENT STATEMENT                                                  CASE NUMBER:
 (Check one):          ~         UNLIMITED CASE             0       LIMITED CASE
                                                                                                            20STCV27919
                                 (Amount demanded                   (Amount demanded is $25,000
                                 exceeds $25,000)                   or less)

 A CASE MANAGEMENT CONFERENCE is scheduled as follows:
 Date: January 8, 2021                          Time: 10:00 A.M.            Dept.: 30               Div.:                        Room:
 Address of court ('tf different from the address above):

 ~x      Notice of Intent to Appear by Telephone, by (name): Attomey for PlaintifF, Stephen J. Duron
               INSTRUGTIONS: AII applicable boxes must be checked, and the specified information must be provided.
1- Party or parties (answer one):
   a. 0     This statement is submitted by party (name): Plaintiff, Meesa Bradley
   b. 0   This statement is submitted jointly by.parties (names):
2. Complaint and cross-complaint (to be answered by p/aintiffs and cross-comp/ainants on/y)
     a. The complaint was filed on (date): July 24, 2020
   b. =     The cross-complaint, if any, was filed on (date):
3. Service (to be answered by p/aintiffs and cross-comp/ainants only)
   a. F—x-1 AII parties named in the complaint and cross-complaint have been served, have appeared, or have been dismissed.
     b. =         The following parties named in the complaint or cross-complaint
                  (1) =          have not been served (specify names and exp/ain why not):

                  (2) 0          have been served but have not appeared and have not been dismissed (specify names):


                  (3) 0          have had a default entered against them (specify names):

     c. 0         The following additional parties may be added (specify names, nature of invo/vement in case, and date by which
                  they may be served):




4. Description of case
   a. Type of case in 0          complaint        0      cross-complaint       (Describe, including causes of action):
      Discrimination; Harassment; Retaliation; Failure to Prevent Discrimination, Harassment & Retaliation; Wrongful Termination;
      Intentional Infliction of Emotional Distress; and Negligent Hiring and Supervision.

                                                                                                                                                        Page 1 of 5
Form Adopted for Mandatory Use                                                                                                                  Cal. Rules of Court,
Judicial Council of Cal'domla                        CASE MANAGEMENT STATEMENT                                                                   rules 3.720-3.730
CM-110 [Rev. July 1, 2011]                                                                                                                      www.courts.ca.gov
         Case 2:20-cv-11670-PSG-AS Document 2 Filed 12/28/20 Page 64 of 69 Page ID #:75


     PLAINTIFF/PETITIONER: Meesa Bradley                                                         CASE NUMBER:
  DEFENDANT/RESPONDENT: Make-Up Art Cosmetics, Inc., et al.                                      20STCV27919

 4. b. Provide a brief statement of the case, including any damages. (If personal injury damages are sought specify the injury and
       damages claimed, inc/uding medica/ expenses to date (indicate source and amount], estimated future medica/ expenses, lost
       eamings to date, and estimated future /ost eamings. If equitab/e relief is sought, describe the nature of the relief.)
       Plaintiff alleges causes of action against Defendant for Discrimination based upon race; harassment; retaliation; failure to
       prevent discrimination, harassment and retaliation; wrongful termination; intentional of emotional distress; and negligent hiring
       and supervision. Plaintiff seeks damages for lost wages, lost future wages, emotional distress, punitive damages, attomey's
       fees and costs.
    =(If more space is needed, check this box and attach a page designated as Attachment 4b.)
 5. Jury or nonjury trial
    a. The party or parties request 0       a jury trial  0      a nonjury trial. (Ifmore than one party, provide the name of each party
       requesting a jury trial):


 6. Trial date
      a. =  The trial has been set for (date):
      b. Ox No trial date has been set. This case will be ready for trial within 12 months of the date of the filing of the complaint (if
            not, exp/ain):


      C. Dates on which parties or attomeys will not be available for trial (specify dates and exp/ain reasons for unavailability):



7. Estimated length of trial
      The party or parties estimate that the trial will take (check one):
      a. F—x-1 days (specify number): 5-7 days
      b• 0         hours (short causes) (specify):
B. Trial representation (to be answered for each party)
   The party or parties will be represented at trial Ox by the attomey or party listed in the caption           0     by the following:
   a. Attomey:
   b. Firm:
   c. Address:
   d. Telephone number:                                              f. Fax number:
      e. E-mail address:                                                     g. Party represented:
   0     Additional representation is described in Attachment 8.
9. Preference
   =     This case is entitled to preference (specify code section):
10.Alternative dispute resolution (ADR)
   a. ADR information package. Please note that different ADR processes are available in different courts and communities; read
       the ADR information package provided by the court under rule 3.221 for information about the processes available through the
       court and community programs in this case.
       (1) For parties represented by counsel: Counsel =               has     =     has not provided the ADR information package identified
           in rule 3.221 to the client and reviewed ADR options with the client.
       (2) For self-represented parties: Party 0           has 0         has not reviewed the ADR information package identified in rule 3.221.
     b. Referral to judicial arbitration or civil action mediation (if available).
        (1)0      This matter is subject to mandatory judicial arbitration under Code of Civil Procedure section 1141.11 or to civil action
                  mediation under Code of Civil Procedure section 1775.3 because the amount in controversy does not exceed the
                  statutory limit.
        (2)0      Plaintiff elects to refer this case to judicial arbitration and agrees to limit recovery to the amount specified in Code of
                  Civil Procedure section 1141.11.
        (3)F_X_1 This case is exempt from judicial arbitration under rule 3.811 of the Califomia Rules of Court or from civil action
                  mediation under Code of Civil Procedure section 1775 et seq. (specify exemption):
                  Amount in controversy exceeds statutory limit.
CM-110 [Rev. July 1, 2011]                                                                                                            Page 2 of 5
                                                     CASE MANAGEMENT STATEMENT
       ti     Case 2:20-cv-11670-PSG-AS Document 2 Filed 12/28/20 Page 65 of 69 Page ID #:76
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                                                                                                                                        rwA_A 7 n
                                                                                                                                        V   1~~~ I   I V

          PLAINTIFF/PETITIONER: Meesa Bradley                                                        CASENUMBER:
       DEFENDANT/RESPONDENT: Make-Up Art Cosmetics, Inc., et al.                                     20STCV27919


     10. c. Indicate the ADR process or processes that the party or parties are willing to participate in, have agreed to participate in, or
            have already participated in (check all that app/y and provide the specffied information):




                                  The party or parties completing     If the party or parties completing this form in the case have agreed to
                                  this form are willing to            participate in or have already completed an ADR process or processes,
                                  participate in the following ADR    indicate the status of the processes (attach a copy of the parties'ADR
                                  processes (check all that app/y):   stipu/ation):
                                                                       Ox   Mediation session not yet scheduled
                                                                       0    Mediation session scheduled for (date):
            (1) Mediation                       0                      0    Agreed to complete mediation by (date):
                                                                       0    Mediation completed on (date):

                                                                      Ox    Settlement conference not yet scheduled
            (2)Settlement                       ~                     ~     Settlement conference scheduled for(date):
               conference                                             ~     Agreed to complete settlement conference by (date):
                                                                      0     Settlement conference completed on (date):

                                                                      ~     Neutral evaluation not yet scheduled
                                                                      ~     Neutral evaluation scheduled for (date):
        (3) Neutral evaluation                  0
                                                                      0     Agreed to complete neutral evaluation by (date):
                                                                      ~     Neutral evaluation completed on (date):

                                                                      0     Judicial arbitration not yet scheduled
        (4) Nonbinding judicial                 0                     0     Judicial arbitration scheduled for (date):
             arbitration                                              0     Agreed to complete judicial arbitration by (date):
                                                                      ~     Judicial arbitration completed on (date):

                                                                      0     Private arbitration not yet scheduled
            (5) Binding private                                             Private arbitration scheduled for (date):
               arbitration                                            0     Agreed to complete private arbitration by (date):
                                                                      0     Private arbitration completed on (date):

                                                                      ~     ADR session not yet scheduled
                                                                      0     ADR session scheduled for (date):
         (6) Other (specify):                  ~
                                                                      0     Agreed to complete ADR session by (date):
                                                                      0     ADR completed on (date):




    CM-110 [Rev. July 1, 2011]
                                                                                                                                        Page 3 of 5
                                                    CASE MANAGEMENT STATEMENT
i•       i         Case 2:20-cv-11670-PSG-AS Document 2 Filed 12/28/20 Page 66 of 69 Page ID #:77

                                                                                                                                                   r_iu_i i n
                 PLAINTIFF/PETITIONER: Meesa Bradley                                                           CASE NUMBER:
       DEFENDANT/RESPONDENT: Make-Up Art Cosmetics, Inc., et al.                                               20STCV27919

      11. Insurance
              a•   0       Insurance carrier, if any, for party filing this statement (name):
              b. Reservation of rights: =          Yes     0     No
             c. 0          Coverage issues will significantly affect resolution of this case (exp/ain):



      12. Jurisdiction
             Indicate any matters that may affect the court's jurisdiction or processing of this case and describe the status.
             0     Bankruptcy 0        Other (specify):
             Status:

      13. Related cases, consolidation, and coordination
          a. 0     There are companion, underlying, or related cases.
                   (1) Name of case:
                   (2) Name of court:
                   (3) Case number:
                   (4) Status:
                   0       Additional cases are described in Attachment 13a.
             b.    0       A motion to      0      consolidate        0      coordinate         will be filed by (name party):

      14. Bifurcation
             0         The party or parties intend to file a motion for an order bifurcating, severing, or coordinating the following issues or causes of
                       action (specify moving party, type of motion, and reasons):



     15. Other motions
             0         The party or parties expect to file the following motions before trial (specify moving party, type of motion, and issues):



     16. Discovery
             a. 0          The party or parties have completed all discovery.
             b.Ox          The following discovery will be completed by the date specified (describe afl anticipated discovery):
                         P rtv                                 Description                                                                  Date
             Plaintiff                                         Written Discovery                                                 Per Code
             Plaintiff                                         Depositions                                                       Per Code
             Plaintiff                                         Expert Discovery                                                  Per Code



             c. =         The following discovery issues, including issues regarding the discovery of electronically stored information, are
                          anticipated (specify):




     CM-110 [Rev. July 1, 2011]                                                                                                                    Page 4 of 5
                                                           CASE MANAGEMENT STATEMENT
  ~
          Case 2:20-cv-11670-PSG-AS Document 2 Filed 12/28/20 Page 67 of 69 Page ID #:78
                                                                                                                                           rree_011 4 n
          PLAINTIFF/PETITIONER: Meesa Bradley                                                          CASENUMBER:
   DEFENDANT/RESPONDENT: Make-Up Art Cosmetics, Inc., et al.                                           20STCV27919


  17. Economic litigation
       a. 0          This is a limited civil case (i.e., the amount demanded is $25,000 or less) and the economic litigation procedures in Code
                     of Civil Procedure sections 90-98 will apply to this case.

       b.           This is a limited civil case and a motion to withdraw the case from the economic litigation procedures or for additional
                    discovery will be filed (if checked, exp/ain specifically why economic litigation procedures re/ating to discovery or trial
                    shou/d not apply to this case):




 18. Other issues
      ~        The party or parties request that the following additional matters be considered or determined at the case management
               conference (specify):




 19. Meet and confer
      a. 0          The party or parties have met and conferred with all parties on all subjects required by rule 3.724 of the Califomia Rules
                    of Court (if not, exp/ain):
                    The parties will have met and conferred by the case management conference hearing date.




      b. 0         After meeting and conferring as required by rule 3.724 of the Califomia Rules of Court, the parties agree on the following
                   (specify):




20. Total number of pages attached (ff any):

 I am completely familiar with this case and will be fully prepared to discuss the status of discovery and altemative dispute resolution,
 as well as other issues raised by this statement, and will possess the authority to enter into stipulations on these issues at the fime of
 the case management conference, including the written authority of the party where required.

Date: December 8. 2020

Stephen J. Duron
                             (TYPE OR PRINT NAME)                                                     (SIGNOURE OF PARTY OR ATTORNEI)



                                                                                     /
                             (TYPE OR PRINT NAME)                                                     (SIGNATURE OF PARTY OR ATTORNEI)

                                                                                     0     Additional signatures are attached.



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                                                                                                                                           Page 5 of 5
                                                    CASE MANAGEMENT STATEMENT

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         Case 2:20-cv-11670-PSG-AS Document 2 Filed 12/28/20 Page 68 of 69 Page ID #:79

                                                        PROOF OF SERVICE
                                                        Case No. 20STCV27919
                                            Brad[ey v Make-Up Art Cosmetics, Inc., et aL


       I, HILDA AKBARIAN, declare that I am a resident of or employed in the County of Los Angeles, California. I am
       over the age of 18 years and not a party to the entitled case. The name and address of my residence or business is
       JOSEPH FARZAM LAW FIRM 11766 Wilshire Blvd., Suite 280, Los Angeles, CA 90025.

       On December 8, 2020, I served the foregoing document(s) described as:

         CASE MANAGEMENT STATEMENT
         X                by placing the document(s) listed above in a sealed envelope, addressed as set
                          forth below, and placing the envelope for collection and mailing in the place designated for such in
                          our offices, following ordinary business practices.

                          by transmitting via facsimile the document(s) listed above to the fax
                          number(s) set forth below on this date before 5:OOPM.

                          by transmitting via electronic mail the document(s) listed above to the
                          electronic mailing address set forth below on this date before 5:OOPM.

                          by causing a true copy thereof to be personally delivered to the person(s) at
                          the address(es) set forth below.

       on the parties listed below by placing a true copy thereof enclosed in a sealed envelope for collection and mailing in
       the United States Postal Service following ordinary business practices at Los Angeles, California addressed as
       follows:

                                                  SEE ATTACHED SERVICE LIST

               I am readily familiar with the ordinary practice of the business of collecting, processing and depositing
       correspondence in the United States Postal Service and that the correspondence will be deposited the same day with
       postage thereon fully prepaid.

                  I declare under penalty of perjury under the laws of the State of California that the foregoing is true and
       correct.

                  Executed on December 8, 2020_ in Los Angeles, Califomia.




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                                               SERVICE LIST
                                      Case No. 2:19-cv-06238-CJC-JPR


CSC LAWYERS 1NCORP. SERVICE
2710 Gateway Oaks Drive, Suite 150N
Sacramento, CA 95833


Defendants' Authorized Agent for Service of Process
